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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



JEWS AT HAVERFORD,                   :
                                     :
              Plaintiff,             :     Civil Action No.
                                     :
     v.                              :
                                     :
THE CORPORATION OF                   :
HAVERFORD COLLEGE,                   :
                                     :
              Defendant.             :

                                  COMPLAINT
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                                        COMPLAINT

                                   I.      INTRODUCTION
1.   Throughout its nearly 200-year history, Haverford College has been a highly respected

     institution devoted to providing a liberal arts education to its students. Haverford has

     now abandoned that mission in one central respect: by adopting a single unifocal

     definition of justice, which excludes, and is resolutely hostile to, Jews who are committed

     to Israel’s existence as a Jewish state or even insufficiently committed to its elimination.

2.   Instead, Haverford has become an illiberal institution fixated on appeasing the demands

     of anti-Israel students and faculty. Haverford refuses to tolerate ideas about Israel that

     are at odds with its new political orthodoxy—in particular, the Jewish people’s ethnic,

     historical, shared ancestral and religious claims to their ancestral homeland in Israel.

     This intolerance is enforced through shunning of Jewish students committed to the

     existence of the State of Israel as a Jewish state, and through the lauding and accepting of

     antisemitic student demands by Haverford’s President Wendy Raymond and her

     administration (the “Administration”). Indeed, President Raymond has allowed to go

     unanswered the exclusionary demands that pro-Israel students be labeled as racist

     “genocidaires” and therefore discredited or silenced. See infra ¶¶78.

3.   Among the results of this intellectual bankruptcy is a college whose senior leadership, as

     well as at least a small but extremely loud segment of the faculty and the students have

     resolutely set their face against the ethnic and shared ancestral commitment of the Jewish

     people—the children of Israel—to the land of Israel. Public expression of this




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     commitment at Haverford College is impossible for students, staff, and even for tenured

     faculty.

4.   As a result of Haverford’s capture by a fervently antisemitic anti-Israel faction, students

     and even tenured faculty who engage in public expression of pro-Israel viewpoints are

     penalized through formal investigations and other disciplinary measures, as well as

     through informal but pervasive stigmatization, harassment, and bullying campaigns.

5.   As more fully alleged below at ¶¶259, the Office of Civil Rights, United States

     Department of Education (“OCR”), has recognized that it is antisemitic, and a violation

     of Title VI of the 1964 Civil Rights Act (“Title VI”), for an institution covered by that

     statute to discriminate against Jewish students on the basis of their ethnic and shared

     ancestral ties to the land of Israel. Although Haverford accepts federal funds and is

     therefore subject to the requirements of Title VI, Haverford has engaged in

     discrimination against, and condoned pervasive hostility towards, pro-Israel Jewish

     students.

6.   Haverford has violated Title VI by failing to protect the rights of Jewish Haverford

     students to participate fully in college classes, programs, and activities, without fear of

     harassment if they express beliefs about Israel that are anything less than eliminationist.

     In this pervasively hostile environment, Jewish students hide their beliefs, as well as their

     attendance at religious services or even secular events at which support for the existence

     of Israel is articulated or defended. While Israel-hating students march across the campus

     chanting quotes from the terrorist group Hamas calling for Israel’s destruction—as they

     have done frequently and without any restraint or interference from the Administration—

     these Jewish students hide in their rooms, feeling unable even to go to class or to engage



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     in any of the other activities that constitute the life of an undergraduate. Jewish students

     whose native tongue is Hebrew fear to and no longer will speak Hebrew in public on

     campus. Other Jewish students agonize over how to suppress identifiably Jewish

     proclivities, gestures, or expressions, lest they be exposed as insufficiently Israel-hating

     Jews. Nearly all of these Jewish students engage in agitated consideration every day

     about whether, wherever they are going on Haverford’s campus—to class, to the library,

     to a meal or to meet a friend—they are going to be met with attacks on them and the

     basic tenets of their religion.

7.   When these Jewish students, their parents, and concerned Jewish alumni have repeatedly

     beseeched Haverford College to protect Jewish students’ right to live free from

     harassment—or indeed, their right to live outwardly as Jews at all—Haverford has

     explicitly refused. Again and again. On the contrary: as more fully alleged below, ¶¶

     183-193. Haverford has even invoked the potential for violence by the antisemitic faction

     on campus as the reason why the Jews should not even publicly speak out against

     antisemitism.

8.   The result is a campus on which Jews who don’t express hatred for the Jewish state or

     publicly disavow their connection to it cannot live and learn in peace. Rather than

     tolerating these embattled community members, Haverford tolerates relentless and

     directed hostility towards its Jews. While Haverford portrays itself as warm and

     welcoming to everyone, it has effectively abandoned these committed Jews.

9.   The Administration has explicitly acknowledged “growing concern about antisemitism

     on our campus.”
     https://www.haverford.edu/president/news/more-inclusive-learning-community




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10.   Yet Haverford has made clear that it will not do anything to remedy the antisemitism that

      now runs rampant on campus.

11.   In fact, in one deeply disturbing instance, Haverford Administrators actually said

      explicitly that they take no responsibility for the safety of Jewish students. On January

      31, 2024, the affiliate advisors of Hillel and Chabad, representing the Jewish community,

      met with Haverford Administrators including Provost Linda Strong-Leek, Dean John

      McKnight, Chief of Staff Jesse Lytle, and Vice President for Institutional Equity and

      Access Thelalia “Nikki” Young. The meeting took place after these Jewish leaders had

      repeatedly requested help from the Administration for their embattled students and had

      been rebuffed. At last, these leaders expected the opportunity to hear from Haverford’s

      administrative leadership what plans it had to help protect their Jewish charges. But

      when the Jewish representatives described the fear and isolation experienced by Jewish

      students at Haverford, the administrators failed to demonstrate any appreciation of, or

      sense of responsibility to address, the hostile environment for Jewish students. The

      Jewish representatives underscored that, in this climate, Jewish students simply do not

      feel safe on Haverford’s campus. When asked what assurances they could provide to

      Jewish prospective students and their parents, administrators responded that racial

      minority students have never felt safe at Haverford, and that Jewish prospective students

      should not expect to feel safe and should instead prepare to be “brave.” To the

      astonishment of the Jewish leaders and to the horror of others when the experience was

      recounted, Haverford College leadership would not even permit the centering of the

      concerns of Jews at Haverford at this meeting and instead pivoted to discussion of the




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      hardship of other minority students, even though the only reason this specific meeting

      was held was to address the concerns of increasingly embattled Jews at Haverford.

12.   Despite having agreed to consider several proposed measures to address antisemitism, the

      Administration has, over three months later, failed to follow up with Jewish

      representatives or implement any such changes.

13.   Haverford also applies its policies on free speech discrimination in radically different

      ways to Jews than it does to any other group. Hate speech about Jews and Israel is

      permitted to the full extent of the First Amendment, whereas anything that might

      conceivably be understood as hate speech about any other minority group—as defined by

      the recipient minority group—is not tolerated, even when such speech would otherwise

      be protected by the First Amendment.

14.   Similarly, critical speech about Jews is deemed protected by Haverford if it appears on a

      private social media page. But speech attacking other minorities is actionable and indeed

      punished, even when it appears only on private social media.

15.   Haverford administrators have unapologetically embraced this double standard. In

      March 2024, an alumnus questioned Dean John McKnight about the abundance of speech

      on Haverford’s campus that is virulently hostile to Jews and Israel, asking whether

      Haverford would tolerate such speech directed at LGBTQIA students. Dean McKnight

      responded that the two groups are “not comparable.”

16.   As for Jewish students contending with antisemitic hostility, Haverford has suppressed

      public expression of their viewpoints. As more fully alleged below, the Administration

      forced Plaintiff Ally Landau to agree to cancel a planned and preapproved Antisemitism

      Awareness component to a women’s basketball game because, they claimed, it could lead



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      to violent rioting by antisemitic, pro-Palestine students. Ally’s proposed component

      would have consisted solely of a table placed at the entrance to the gym and the handing

      out of written materials and Blue Square pins that signify #standinguptoantisemitism.

      Other basketball games during Ally’s tenure on the women’s basketball team have been

      devoted to raising awareness for gay pride, diabetes awareness, mental health awareness

      and Black History Month, none of which were deemed controversial, let alone canceled

      due to a hecklers’ veto. But a game dedicated solely to raising awareness about

      antisemitism—hatred of Jews—was deemed too controversial and warranted cancellation

      because of how the haters could be expected to behave.

17.   Students who hold views hostile to Israel and Judaism dominate the instrumentalities of

      student government at Haverford, including Students’ Council and the Honor Council.

18.   These students deem Jewish students “white” and “powerful,” in contrast with Arab,

      Muslim and Palestinian students, who are deemed protected minorities. Because Jews

      are presumed oppressors, according to this logic, they are disentitled to equal protection.

      Title VI unequivocally forbids Haverford from implementing or recognizing such

      discriminatory views as its school policy.

19.   Yet the current Haverford Honor Code apparently adopts a policy of mandated

      discrimination against Jews—who are deemed presumptively white and privileged

      regardless of their actual pigmentation or economic status—and in favor of other

      minority groups by committing all students to “rejecting anti-Blackness, recognizing

      white privilege, challenging structures of whiteness and white comfort, and crediting the

      work of BIPOC (Black, Indigenous and People of Color) and especially women of

      color.” http://honorcouncil.haverford.edu/the-code/. Moreover, the Honor Code



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      emphasizes that this commitment should be put into practice in student’s daily lives

      rather than being “treated passively, as passivity condones white supremacy and the

      multitude of systems it creates.” This is the “honor code” by which tenets Haverford

      College is run and which, consequently, permeates its environment.

20.   As more fully alleged below, when confronted by forms of discrimination other than

      antisemitism, President Raymond and her Administration have not hesitated to take direct

      official action in the name of the College. But the same authorities have repeatedly taken

      the position that Jewish students injured by the hostility of their antisemitic classmates

      and professors should seek redress and protection from such conduct by invoking the

      provisions and regulatory processes of the Haverford Honor Code which is itself enforced

      through an Honor Council whose members endorse and embrace those discriminatory

      policies.

21.   The College has thus fobbed off the problem of antisemitic conduct to the bodies of

      students which are a principal source of the problem in the first place.

22.   This abnegation of responsibility by President Raymond and her Administration

      effectively delegates to antisemitic students, or those indifferent to antisemitism, the

      College’s duty to comply with the law, and in particular, its nondelegable duty to ensure

      that Haverford fulfills its obligations under Title VI.

23.   No such effort by the College’s Administration to sidestep its own duties under Title VI

      is permitted by that statute.

24.   As more fully alleged below, Haverford College has within the last six months, in

      addition to the issues already raised and in addition to many more:




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             -    Hosted a weeklong series of events at which the Jewish State was accused of

             intentionally poisoning Arabs with Covid; at which they showed the movie “Jenin,

             Jenin,” a film whose producer has acknowledged that it contains false accusations

             about the conduct of the Israel Defense Forces; and hosted an event at which Israel is

             described as a country with an explicit policy of maiming Palestinians—rather than

             killing them—so that Israel can subjugate the Palestinian people.

             -    Let stand the accusation, initially made by students, then seen and unremarked

             upon by President Raymond, that the one Jewish student at Haverford who had the

             courage to speak up on behalf of the Israelis raped, murdered and tortured on October

             7 herself bore personal responsibility for a Palestinian Haverford student shot in

             Vermont by a person who, it was revealed less than a month after the shooting, was

             himself anti-Israel and a supporter of Hamas. 1             See infra ¶¶ 122-130

25.      As a result of these and countless other discriminatory incidents, policies and practices,

         Haverford College is a campus that is overtly and persistently hostile towards Jewish

         students, faculty and administrative employees who are known or suspected of being

         supporters of the right of Israel to exist as a Jewish state, or of simply failing to espouse

         sufficiently antisemitic positions. All opinions denouncing this commitment are

         accorded full protection as “Free Speech” or the exercise of Academic Freedom.

26.      There is absolutely no reason to believe that the bias manifest everywhere on the

         Haverford campus will cease without judicial intervention. Even in the week before the




1 See https://www.sevendaysvt.com/news/driven-by-hate-man-charged-in-burlington-shooting-was-a-volunteer-

with-a-troubled-personal-life-39673363 (noting that “[i]n an October 17 post on X responding to a different article,
[the shooter] wrote that “the notion that Hamas is ‘evil’ for defending their state from occupation is absurd. They are
owed a state. Pay up.”))

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filing of this Complaint the hate continued: on Thursday, May 9, emboldened students at

Haverford demanded that Haverford boycott a Jewish restaurant owner with whom the

college had contracted to supply breakfast for commencement, publicizing an image of

his food products dripping blood, simply because he is a native-born Israeli who has had

the temerity to support his country’s self-defense.




This brazen resurrection of the ages-old blood libel, substituting donuts for matzah and

Arabs for Christians, would never have been made publicly if the Administration had

taken any action against the long stream of previous antisemitic attacks detailed in this

Complaint. The Haverford Administration’s resolute refusal to put a stop to this endless

parade of hatred will not be remedied unless this Court puts a stop to it.



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                              II.    JURISDICTION AND VENUE
27.   This Court has subject matter jurisdiction over this controversy under 28 U.S.C. §1331

      inasmuch as this Complaint states claims arising under federal law, and pursuant to 28

      U.S.C. § 1367, inasmuch as this Complaint states ancillary claims arising under state law.

28.   Venue lies in this district pursuant to 28 U.S.C. §1391, inasmuch as the Defendant resides

      in this district and a substantial part of the events or omissions giving rise to the claim

      occurred in this district.


                                       III.    PARTIES
29.   The Plaintiff in this case, Jews at Haverford, is an unincorporated association consisting

      of Jewish students and faculty at Haverford College, as well as Haverford alumni and

      parents of students and alumni, who are Jewish and share a commitment to the existence

      of Israel as a Jewish state.

30.   Student Ally Landau is currently a senior at Haverford and a member of Jews at

      Haverford. Ally is Jewish and is committed to the existence of Israel as a Jewish state.

      Ally attends Jewish programs and events on and off campus. Ally has personally been

      affected by antisemitic demonstrations, by posters throughout the Haverford College

      campus calling for the destruction of the state of Israel and accusing the state of Israel of

      committing genocide. Ally has been forced to change her routine at Haverford to avoid

      being confronted by blood libels directed at the Jewish people. Ally has been harassed

      and insulted by other students and faculty at Haverford College purporting to instruct her

      on what constitutes the tenets of her religious commitment and claiming that her

      commitment to Israel has nothing to do with her Judaism. Ally has been shunned by

      Haverford students because she has made known her opinion that Israel has the right to


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      exist as a Jewish state. Ally has repeatedly beseeched President Raymond and her

      Administration to intervene and ensure that the antisemitic animus pervading Haverford

      College cease. She and/or her concerns have been repeatedly rebuffed, shunted aside, told

      she should deal with the matter herself, and/or ignored by Haverford’s leadership. Ally

      has been targeted by the antisemitic pro-Hamas members of the Haverford College

      community who blamed her position and assertions of facts regarding the history of the

      Middle East and the current conflict for the shooting in November 2023 of three Arab

      Palestinian students. Ally was also pressured by senior Haverford College administrators

      including Dean John McKnight into canceling a pre-approved Antisemitism Awareness

      component of a women’s basketball game. For Ally, not a single day goes by when the

      rampant antisemitism on Haverford’s campus is not at the forefront of her mind.

31.   Student HJSB is currently a senior at Haverford and a member of Jews at Haverford.

      HJSB is Jewish and is committed to the existence of Israel as a Jewish state. In the

      immediate aftermath of October 7, as she watched the violent hostility to Israel unfold on

      Haverford’s campus, HJSB initially remained in her room and then fled campus to her

      parents’ home, unable to function as a student at Haverford because she found herself

      surrounded by fellow students who she had thought were her friends, but who were

      initially indifferent to, and then actually celebrating the murder of Jews. HJSB attends

      Jewish programs and events on and off campus and has lost friends and been shunned

      because of this attendance, with other Haverford students telling HJSB that she should

      not support a Zionist entity on campus. HJSB has personally been affected by antisemitic

      demonstrations, by antisemitic posters which have flooded the Haverford College

      campus, including flyers on every library table and by huge banners on central points of



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      the campus which call for the destruction of the state of Israel and accuse the state of

      Israel of committing genocide. HJSB has been forced to change her routine at Haverford

      in order to avoid being confronted by blood libels directed at the Jewish people. HJSB

      has agonized over how she can “refute her Jewishness just enough so I don’t have a target

      on my back.” HJSB felt very intimidated voting at the Spring Plenary on the ceasefire

      resolution, especially because the votes were public and Palestinian flags were being

      waved everywhere. HJSB did not vote for the ceasefire resolution which exposed HJSB

      to hatred from those who think anyone supporting the right of Israel to exist are “f*cking

      Zionists” and “genocide supporters.” In advance of the vote, HJSB was asked

      repeatedly—in front of others, many of whom responded to her with hostility—to sign

      the petition in support of the ceasefire resolution, which was intimidating and created a

      great deal of anxiety. The hostile environment for HJSB is something she thinks about

      every single day since October 7. That concern is on her mind whenever she leaves her

      dorm room and is especially acute in classes, where she fears that she might say

      something out loud that indicates she has any affiliation towards or sympathy for Israel

      which would immediately brand her as someone who supports “genocide” by other

      students and faculty alike.

32.   Student HJSC is currently a Jewish Haverford student and a member of Jews at

      Haverford. HJSC is committed to the existence of Israel as a Jewish state. HJSC attends

      Jewish programs and events on and off campus and has lost friends and been shunned

      because of this attendance. HJSC has personally been affected by antisemitic

      demonstrations, by posters throughout the Haverford College campus calling for the

      destruction of the state of Israel and accusing the state of Israel of committing genocide.



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      HJSC has been forced to change her routine at Haverford in order to avoid being

      confronted by blood libels directed at the Jewish people. HJSC has been repeatedly

      insulted by other students and faculty at Haverford College purporting to instruct her on

      what constitutes the tenets of her religious commitment and claiming that her

      commitment to Israel has nothing to do with her Judaism. HJSC knows that when Russia

      invaded Ukraine, no one at Haverford doubted who was the aggressor and who was the

      victim and Ukrainian students were supported, which is a dramatic difference from the

      way Jewish Haverford students were treated in the wake of the October 7 Hamas attack.

      HJSC has been devastated by the sudden and sustained proliferation of Haverford

      students wearing head and shoulder coverings in a manner like that worn by Hamas

      terrorists in order to show support for Hamas and to intimidate Jewish students. HJSC

      believes that not only are Jews not being heard on Haverford’s campus, but that instead

      they are being told—she is being told—"you don’t belong here.” HJSC has heard

      Haverford students say that “Jews exaggerate the Holocaust,” and that “Jews are white

      and privileged,” as a justification for the constant displays of Jew hatred at Haverford.

      HJSC has been shunned by numerous Haverford students because HJSC has made known

      her opinion that Israel has the right to exist as a Jewish state.

33.   Student HJSD is currently a Jewish Haverford student and a member of Jews at

      Haverford. HJSD is committed to the existence of the state of Israel as a Jewish state.

      HJSD attends Jewish programs and events on and off campus. HJSD has personally been

      affected by antisemitic demonstrations, by posters throughout the Haverford College

      campus calling for the destruction of the state of Israel and accusing the state of Israel of

      committing genocide. HJSD has been forced to change his routine at Haverford in order



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      to avoid being confronted by blood libels directed at the Jewish people. HJSD felt

      continually bombarded and harassed by the multitude of emails he received from the

      Students Council haranguing him with calls for a ceasefire in the Middle East and

      demands that he attend various meetings about voting for a ceasefire. HJSD fears that

      were he to allow other Haverford College students to know that he believes in the right of

      Israel to exist, they would shun him, as he’s seen happen to other Jewish Haverford

      students.

34.   Student HJSE is currently a Jewish Haverford College student and a member of Jews at

      Haverford. HJSE is committed to the existence of Israel as a Jewish state. HJSE attends

      Jewish programs and events on and off campus and has lost friends and been shunned

      because of this attendance. HJSE has personally been affected by antisemitic

      demonstrations, by posters throughout the Haverford College campus calling for the

      destruction of the state of Israel and accusing the state of Israel of committing genocide.

      HJSE has been repeatedly insulted by other students and faculty at Haverford College

      purporting to instruct her and other Jews on what constitutes the tenets of her religious

      commitment and claiming that her commitment to Israel has nothing to do with her

      Judaism. HJSE has been shunned by numerous Haverford students because HJSE has

      made known her opinion that Israel has the right to exist as a Jewish state. HJSE was told

      by President Wendy Raymond that an event put on by anti-Israel Haverford students

      which claimed Israel was “weaponizing” Covid against Palestinians was not antisemitic.

      HJSE was in a group of Jewish Haverford students who asked President Raymond what

      she thought of the picture a Haverford professor publicly posted and wildly applauded of

      a bulldozer smashing through a barrier from Gaza into Israel so that the driver and others



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      could murder, mutilate, and rape Israelis. President Raymond’s response was that the post

      “could be perceived in many ways,” and when pressed about what she perceived,

      President Raymond responded to the Jewish students that she “heard people breaking free

      from their chains.” Student HJSE was aghast and felt utterly abandoned when she heard

      Haverford College’s President Wendy Raymond make these statements and also claim

      that there were peaceful people from Gaza who crossed over into Israel through the

      destroyed fence on October 7.


         IV.     FACTS
35.   As more fully alleged below, the Administration of Haverford College, through the action

      and inaction of President Wendy Raymond, Dean John McKnight, Vice President for

      Institutional Equity and Access Nikki Young, and Jesse Lytle, Chief of Staff to the

      Haverford College President, some members of the faculty and others, have been

      deliberately indifferent to, allowed, and indeed fostered and encouraged, the creation of a

      severe and pervasive hostile antisemitic environment on Haverford’s campus.

36.    Many Jewish students at Haverford have been subject to antisemitic intimidation and

      harassment, and as a result, they fear for their personal and community safety. This

      hostile environment interferes with the ability of Jewish students to participate in and

      benefit from the services, activities or educational opportunities offered by the College

      and for which they paid.

37.   Many Jewish students wonder how they can adequately refute or hide their Judaism just

      enough so they don’t have a target on their back. Jewish students know that saying

      anything about the Middle East that is not aggressively pro-Palestinian, and antisemitic,

      will paint them as “Zionists” and therefore amendable to shunning and hatred. Were a

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      student at Haverford to express an opinion in support of Israel to anyone other than a

      carefully selected group of pre-vetted friends, that student would be accused of being a

      “f*cking Zionist” and then be blacklisted by a great many other students.

38.   To date, the Administration has taken no effective action to: (i) address the environment

      of antisemitic intimidation and harassment: (ii) hold the perpetrators of antisemitic

      intimidation accountable for their actions; or (iii) prevent further acts of intimidation

      from occurring. Instead, the Administration has remained resolutely and deliberately

      indifferent to, encouraged, tolerated, not adequately addressed, or ignored the creation of

      this severe and pervasive antisemitic environment. In contrast to its emphatic rejection of

      racist, sexist or speech in derogation of other groups, Haverford’s President Wendy

      Raymond has repeatedly proclaimed that speech attacking or intimidating Jews will not

      meet with discipline of any kind but will, at best, be addressed with efforts for

      “restorative justice”—and then not provided even that.

39.   Haverford’s deliberate indifference and clearly unreasonable response to anti-Jewish

      harassment, and its discriminatory application of its policies to exclude Jewish students

      from their protections, has created an environment in which antisemitic activity has

      flourished, and if not immediately addressed, will continue to flourish.


                 A. The History of Antisemitism at Haverford
40.   Haverford College has long struggled with antisemitism. In the 1930s, Haverford had a

      quota on the number (three) of students who could be Jewish in each class year.

      https://haver.blog/2021/05/21/exploring-the-stories-not-told/. Haverford College had no

      other quota or limitation on the religious, racial, or ethnic makeup of its student body.

      Even at a time when de jure segregation and discrimination against Black Americans

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      were a widespread and indeed legal form of bigotry, Haverford viewed only the presence

      of Jews on its campus and in its student body as a threat justifying the imposition of a

      numerical quota.

41.   The College’s continuous struggle with antisemitism has manifested itself over time. In

      2020 during what has become known as the “student strike,” numerous student

      organizations signed on to a petition to show support for the antiracism objectives of the

      student strike. But when a Jewish student group attempted to sign the petition, the group

      was forbidden to do so by the student strike leaders who told the Jewish students “get the

      f*ck off the document,” and that the Jewish students should “f*cking choke.”

42.   The pro-Israel Jewish student group accorded this treatment was the only student

      organization that was not allowed to sign the petition.

43.   The Administration stood by in silence and took no public action in the face of this

      obviously antisemitic action, despite numerous requests for help made directly to

      President Raymond. Neither, on information and belief, was there any attempt by anyone

      in the College administration to identify the source of this obvious antisemitism, or to

      address it, or the people who had manifested it, in any way.

44.   Also in 2020, a Chabad-affiliated student group asked to join an ethnic affinity group at

      Haverford College, which was open to all ethnic groups. It was refused.

45.   This expression of antisemitism is a glaring example of a violation of Haverford’s own

      internal antidiscrimination regulations. Yet it was a matter of complete indifference to

      President Raymond and the others in her Administration.

46.   Similarly, during the current academic year, a Jewish student attended a meeting at which

      select students and administration members reviewed Haverford student applicants to

      work with the College’s Office of Admissions to provide tours of the Haverford campus.
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      That student was present when other students rejected the request of more than one

      student applicant for the job of tour guide on the ground that the applicants “are

      Zionists.”

47.   Two Haverford College administration employees were present and witnessed this.

48.   No one said anything to challenge this decision by the students. Those Jewish students’

      applications were rejected.

49.   Haverford’s official tolerance, that is, either its official endorsement or, at best mere

      refusal to intervene in, acts of antisemitism stands in stark contrast to its response to any

      other form of discrimination against any other minority group.




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                  B. Haverford has Frequently Publicly Judged and Vigorously
                     Condemned Discrimination Against Groups Other Than Jews and
                     This Practice Defines the Culture of Haverford College

50.   Haverford has a long and proud history of issuing statements condemning violence

      against minorities even when it occurs off campus, and even far away from the College’s

      campus. This practice has helped to define the culture of Haverford College.

51.   A collection of some such statements, issued officially by individual departments at

      Haverford after one such incident, appears here.

52.   The statements linked above in ¶51 and many others like them, were issued by fourteen

      different academic departments at Haverford, and pledged solidarity with minority

      students because one or more members of a minority group had been killed. The

      departments unilaterally took numerous official steps in response to such events,

      including adjustments in the academic schedule to allow students to grieve and to

      recover, and even raising money in support of a charity focused on this issue.

53.   As just one example, here are the steps announced in 2020 by just one academic

      department at Haverford in response to the death, at the hands of the Philadelphia Police,

      of a Black Philadelphia man with no relationship to Haverford:

             a.       All classes (synchronous and asynchronous) will be canceled until further

             notice

             b.       Students participating in the strike will not be subjected to any grade or

             attendance penalties

             c.       We remain available to meet with students who are interested in

             continuing work on their theses




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    d.      we likewise support those who decide to suspend thesis work until the end

    of the strike

    e.      If the strike ends and classes resume in the coming weeks, each professor

    will touch base in class and consult with students about how to continue forward

    and finish the remainder of the semester

    f.      We will be postponing upcoming events planned with the college

    g.      We will be holding a town hall on Monday, November 2nd at 11:00 a.m.

    EST to create space in the coming week for BIPOC and First Gen anthropology

    students who would like to reflect, talk together, and strategize

    h.      We will send the student demand letter and mutual aid links to our

    networks and organize within the department and College to respond and engage

    BIPOC student demands

    i.      We encourage members of the anthropology community to support

    students through the mutual aid mechanism: Venmo@hcstrikefund Learn more on

    Instagram @bicomutualaid

    j.      If there are specific organizing endeavors on which we can collaborate,

    please let us know

    and https://digitalcollections.tricolib.brynmawr.edu/_flysystem/fedora/2023-

    02/Departmental_strike_statements.pdf




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                 C. Haverford has Repeatedly and Categorically Refused to Condemn
                    Hamas’s Atrocities or any Terrorist Acts Directed Against Jews or
                    Israelis and this Refusal Has Informed and Directed the Treatment of
                    Haverford Jewish Students by Administration, Faculty and Other
                    Students

54.   Haverford College has repeatedly, officially, refused to condemn Hamas for the

      atrocities it committed against Jews on October 7, 2023, even though the impact of those

      atrocities on Jewish students at Haverford was surely as brutal as the impact on students

      of color when a Black man was killed by the Philadelphia police. Haverford College

      made no public statement condemning the brutal violence committed by Hamas on

      October 7, when over a thousand Jews were murdered, mutilated, burned alive and raped

      to death, when hundreds were taken hostage, all in explicit and proudly announced

      violation of international law, videotaped by the perpetrators themselves, so there could

      be no doubt as to whether these atrocities occurred, or who committed them.

55.   Instead, Haverford Dean McKnight issued a public statement on October 9. That

      statement took no moral stance on Hamas’s actions. Haverford College instead compared

      the butchery of Jews in Israel by a known terrorist group committed to eradicating the

      Jewish State and slaughtering all the Jews within it to a “hurricane” or other natural

      disaster—thereby completely ignoring, and refusing to take a position on, the gross

      immorality of what was done, by Hamas terrorists in less than two days to these hundreds

      of Jews. When a Jewish student leader complained, Dean McKnight responded that “I

      got emails from all different individuals; I can’t make everyone happy.”

56.   After another representative of the Jewish community at Haverford explained the pain

      being experienced by Jewish students as a direct result of the College’s silence in the face

      of the mass murder of Jews on October 7, Dean McKnight ultimately issued a private

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      statement in an email to that individual and asked that the message be forwarded to

      students. In other words, Jews who happened to be known to this Jewish leader would

      receive secondhand a message from Dean McKnight, but no one else on campus would

      know that the Dean exhibited even a de minimus regard for the pain of Jewish Haverford

      College students, and any students in pain who were not forwarded the message would

      never receive a note of concern.

57.   No “accommodations” were offered to any Haverford student as a result of the orgy of

      violence directed at Jews on October 7. No funds were raised by any faculty department

      or administrative personnel for the relief of the victims of that violence, or for the many

      thousands of Jews who were left homeless because Hamas had burned their houses—

      many with the family members, including infants and the elderly, inside—schools,

      synagogues, and entire towns to the ground.


                 D. Haverford Maintains a Series of Policies on Discrimination, on
                    Expression, on Conduct Relating to Social Media and on the Posting
                    of Posters, but these Policies are not Applied to Jews in the Same Way
                    That They are Applied to, and About, any Other Group

58.   Haverford College maintains a comprehensive policy barring discrimination against any

      member of the College community on the basis of a series of characteristics, including

      race, religion, ethnicity, ancestry and national origin: Its Non-discrimination Statement

      avers:

      Haverford College is committed to providing an employment and educational
      environment free from all forms of unlawful discrimination because of race, color,
      sex/gender (including pregnancy, childbirth, related conditions, and lactation), religion,
      age, national origin, ancestry, citizenship, disability, status as a medical marijuana
      cardholder, genetic information, gender identity or expression, sexual orientation, current
      or past membership or service in the U.S. Armed Forces or a state military unit, or any
      other characteristic protected by law.

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             https://www.haverford.edu/student-life/community-guidelines/policies

59.    Haverford also maintains a policy on Expressive Freedom and Responsibility. That

       policy provides:

       Haverford College has consistently and actively affirmed all students’ rights to free
       inquiry, assembly, and expression in the broad context of its educational mission. These
       rights include the right to expression of dissent through peaceful protest.

      https://www.haverford.edu/sites/default/files/Office/Deans/Expressive-Freedom-and-
                                  Responsibility-Policy.pdf.


60.    The Haverford College Faculty Handbook (Section III, Subsection C) states:

       Haverford College holds that open-minded and free inquiry is essential to a
       student’s educational development. Thus, the College recognizes the right of all
       students to engage in discussion, to exchange thought and opinion, and to speak
       or write freely on any subject. […] Finally, the College reaffirms the freedom of
       assembly as an essential part of the process of discussion, inquiry, and advocacy.
       […] The freedom to learn, to inquire, to speak, to organize, and to act with
       conviction is held by Haverford College to be a cornerstone of education in a free
       society.


61.    Haverford College also subscribes to the American Association of University Professors’

       1970 “Statement on Freedom and Responsibility,” which states, in part:

       “Membership in the academic community imposes on students…an obligation to

       respect the dignity of others, to acknowledge their right to express differing

       opinions, and to foster and defend intellectual honesty, freedom of inquiry and

       instruction, and free expression…. The expression of dissent and the attempt to

       produce change, therefore, may not be carried out in ways that injure individuals

       or damage institutional facilities or disrupt the classes of one’s teachers or

       colleagues. Speakers on campus must not only be protected from violence, but

       also be given an opportunity to be heard. Those who seek to call attention to

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      grievances must not do so in ways that significantly impede the functions of the

      institution.” https://www.aaup.org/file/freedom-and-responsibility.pdf.

      These stated rights and responsibilities, which are consistent with principles articulated

      in the Honor Code, must be respected by members of the student community at all times.

      These policies, however, are not applied to Jewish students, or those who support the

      right of Israel to exist as a Jewish state.


                                  1. Speech Codes for me but not for Thee
62.   During the 2020 Plenary conducted under a modified procedure because of Covid,

      students adopted amendments to the Honor Code that earned Haverford a "red light"

      rating by FIRE, a civil liberties organization. Currently Haverford is near the bottom of

      FIRE’s rating of college campuses for free speech: it is ranked 208 out of 248—in the

      bottom twenty percent of ranked American campuses. https://www.thefire.org/research-

      learn/2024-college-free-speech-rankings

63.   In 2023 Haverford earned a “red light” rating for free speech.

      https://www.thefire.org/research-learn/spotlight-speech-codes-2023 Such a rating is

      driven by policies on harassment and bullying policies that ban even protected speech—

      policies, which, as further alleged below, Haverford has and which Haverford enforces in

      a discriminatory manner.

64.   As one Haverford student has explained:

              Students at Haverford have faced intimidation, bullying, and harassment for

              expressing dissenting views or holding views that differ from the majority—or

              even a plurality—of the campus community. These incidents have included

              students incurring removal from extracurricular activities and threats to their

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             physical safety, articles blacklisted from being published in school newspapers,

             and questions disallowed from being asked to visiting speakers. Such happenings

             have stifled the open exchange of ideas and hindered the growth and learning of

             the community.

             https://www.thefire.org/news/sounding-fire-alarm-haverford-college


65.   As a practical matter, at least for students, the speech code in force at Haverford is

      imposed by the Honor Code. Rather than understanding that community members should

      begin with a presumption of equality and mutual respect, the current social code instead

      begins with the assumption that all people are divided into "marginalized" and

      "privileged" people. https://honorcouncil.haverford.edu/the-code/.

66.   Marginalized people are effectively exempt from the Social Code: "Therefore, as a

      community, we recognize that this open dialogue is not always possible, and that the

      safety of marginalized students should be paramount. Thus, the Code requires discussion

      that is active, inclusive, responsible, and safe for all students given the omnipresent

      variables of power and privilege and the imbalances they create." Id.

67.   Marginalized people are presumptively believed: "We recognize that for parties harmed

      by acts of discrimination, microaggression, and harassment as defined below, their

      experiences of harm should not be silenced on the basis of the confronted party’s

      discomfort. Reckoning with privilege is a difficult process, and discomfort is a necessary

      element that cannot and should not be avoided." Id.

68.   Remarkably, having the wrong political belief is defined to be a code violation: "We also

      recognize that a person’s political opinions are necessarily intertwined with their values

      and outlook, and thus influence their practices, which may violate the Honor Code. As

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      such, students must be respectful of community standards when expressing political

      opinions. As the Social Honor Code applies to all of our interactions at Haverford,

      engagement in political discourse falls within its jurisdiction, and political beliefs may

      not be used to excuse behavior that violates the Code. If we find that our political beliefs

      perpetuate discrimination, we are obligated to re-evaluate them as we would any of our

      beliefs that perpetuate discrimination." Id.

69.   The long-held confrontation requirement under the code is now optional: "Upon

      encountering actions, values, or words that we find to be lacking trust, concern, and/or

      respect and that are thus degrading to ourselves and to others, we may initiate dialogue."

      But even if a dialogue is initiated, that doesn't mean it's a dialogue between equals; the

      current Code has already decided who is right and who should shut up, because a

      "privileged" person cannot be correct: "In these dialogues, confronted students

      weaponizing the Code’s expectation of respect in order to silence and/or invalidate the

      experiences of harmed parties—including invalidating experiences of harm by claiming

      discrimination against a privileged identity (e.g., claims of reverse-racism) or refusing to

      reflect on their actions—is a violation of the Code." Id.

70.   In the sorting required by these rules between powerful/bad and powerless/good groups,

      Jews and Israel have come out at Haverford on the wrong side: Jews and Israel are

      deemed powerful and bad and speech by them or supportive of them must therefore yield

      to speech about powerless and good people, which categories include Palestinians, Arabs,

      and Muslims.

71.   The result of these facially distorted rules is that at Haverford, even maliciously false

      speech about Israel and Zionism is governed by the widest possible level of protection,



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       and so is accorded the full protection guaranteed under the First Amendment—a degree

       of protection afforded to ugly speech about no other minority group at Haverford.

72.    It is not only the students but even the faculty and administration who are governed by, or

       at least follow and apply, these distorted rules. As a result, as more fully alleged below,

       speech which explicitly applauded Hamas’s genocidal murder of Jews on October 7 was

       praised and rewarded by Haverford’s President Raymond. Haverford has also fully

       protected the obscenity-laden denunciations of Judaism, and even full-throated

       glorification and celebration of the mass murder of Jews on October 7, by some faculty

       members, whereas the celebration of the murder of any other minority would, quite

       rightly, be met with outrage, and punishment, by Haverford College.

73.    Thus, a categorical blood libel—that Jews intentionally spread disease to kill innocent

       Palestinians—was recently spread at Haverford and defended by Haverford’s

       spokesperson as protected and even valued speech:

              Haverford supports its community members’ rights to expressive freedom,
              including around political matters. The ability to challenge ideas and understand
              conflicting views is foundational to our academic mission. We also expect that
              even the most well-intentioned individuals will make mistakes in these arenas,
              and even–and especially–in those moments, we aim to provide learning
              opportunities that will lead to greater empathy, mutual understanding, and
              constructive citizenship in a world that is struggling to reach peaceful solutions to
              conflict,” said [Christopher] Mills [on behalf of the Haverford administration].

      https://delawarevalleyjournal.com/haverford-college-students-hold-anti-israel-event/

74.    This disparity represents overt discrimination by Haverford College against Haverford’s

       Jews who believe that Israel has a right to exist as a Jewish State, in clear violation of

       Title VI of the Civil Rights Act of 1964 and in clear violation of Haverford’s own anti-

       discrimination policies.


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75.   Similarly, Haverford has attributed great significance to off-campus speech that is racist

      or bigoted when such speech is directed to non-Jewish minority groups. For example,

      Haverford revoked its offer of admission to a student who had not yet even matriculated

      at the College because Haverford learned that the student’s social media included bigoted

      postings attacking Black people and gay people. https://haverfordclerk.com/haverford-

      rescinds-admission-for-student-who-posted-racist-and-homophobic-material/.

76.   But Haverford had an entirely different approach when a march to Bryn Mawr College

      took place on January 26, 2024, on Lancaster Avenue in Haverford during which

      Haverford College students and others shouted calls for the elimination of Israel and

      other antisemitic messages. When Dean McKnight was later asked by an alumnus why

      Haverford did nothing to condemn these antisemitic messages when they clearly would

      be sanctioned if lodged against, for example, LGBTQIA individuals, he had two answers:

             a.      it was off campus and therefor covered by the right to free speech; and

             b.      derogatory speech about LGBTQIA people cannot be compared with

                     speech derogatory of Jews or calling for the slaughter of Israelis. In other

                     words, hateful comments directed at gay people are obviously wrong and

                     bad, while such comments directed at Jews are less so, or not wrong at all,

                     and in any event fully protected by the First Amendment. And though the

                     First Amendment does not apply at Haverford College, which is a private

                     institution, Dean McKnight made clear that Haverford’s policy for hateful

                     speech about Jews is governed by this broad protective principle.

77.   Haverford similarly ignored the distinction between on-campus and off-campus speech

      when it initiated an investigation of a tenured Professor, Barak Mendelsohn, on the basis



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      of social media posts he made on his personal Twitter/X page. Mendelsohn, who is

      Jewish and Israeli, was accused by students of various violations of Haverford’s speech

      code in personal tweets, which simply set out Mendelsohn’s view on the relationship

      between attacks on Zionism and attacks on the Jewish people and his disagreement with

      those whose views differed and who cast him and the Jewish State as the only

      wrongdoers. The fact that the post was not on a Haverford website, or made through the

      Haverford email system, and that indeed it had absolutely no official connection to

      Haverford College other than the fact that Mendelsohn teaches there, was of no moment:

      the post set forth views that were supportive of Israel, and of Zionism as a Jewish

      movement and against those who reflexively reject those views. That was enough to

      place it within the jurisdiction of Haverford’s speech monitors.

78.   At the same time, an anti-Israel professor attacked Haverford students who support Israel,

      insulting them by calling them “racist genocidaires.” This statement has been left

      unchallenged on the grounds that such statements are protected as free speech and by

      academic freedom because they constitute the speaker’s own private expression of his

      views. The same is true for the statement by another Haverford professor, Gina Velasco,

      who posted on her Facebook page, “F*ck Israel” and “F*ck Zionism,” and who changed

      her profile picture on Facebook to blame Israel for committing a massacre—just five

      days after the October 7 Hamas atrocities committed against Israelis and well before the

      Israel Defense Forces had begun a concerted response to those attacks.




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79.   Haverford also permits those promoting outdoor antisemitic rallies on campus to wear

      and to insist that attendants wear masks. That insistence is clearly only about evading

      recognition and responsibility for their actions and not for health reasons. To suggest that

      these “required masks” are to protect against Covid, one need only observe that those

      same students and student groups drop the mask “need” for every other kind of event,

      inside or outside. And ever since the waning of the Covid pandemic, masks are not

      required, recommended, or even mentioned for any other public gathering at Haverford

      College. Thus, although it is clear that students are wearing masks only to conceal their

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      identity so they can threaten and intimidate with impunity, Haverford has taken no steps

      to ensure accountability by forbidding the wearing of masks at these antisemitic events

      for those who have not credibly made any claims of special medical needs.

80.   Indeed, the wearing of masks at protest events flies against a central and widely heralded

      Haverford policy that aggrieved Haverford students should (politely) confront the alleged

      offender so that a thoughtful and peaceful resolution can be reached. When students

      shouting wildly antisemitic chants and slogans are masked, face-to-face dialogue

      becomes impossible. And yet the Administration has done nothing to intervene in this

      situation, even though its vaunted Haverford peaceful and restorative justice framework

      cannot work without such intervention.


                                    2. Haverford Social Media Policy
81.   Haverford College has a social media policy, which provides:

         a. Don’t post or allow comments that contain hate speech

         b. Don’t post information or comments that would be offensive or in poor taste

         c. Don’t post copyrighted, questionably legal content, direct attacks on individuals

             or groups, or libelous statements

         d. Don’t use College-related social media channels to share your personal opinions

             or positions on controversial issues that impact the College community—keep in

             mind that you’re acting on behalf of the College on an official Haverford social

             account. If, as individuals or as a group, administrators wish to assert opinions on

             controversial topics, that should be done from personal pages and not official

             department/office/team/organization pages that bear the Haverford name and

             logo.

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      https://www.haverford.edu/sites/default/files/Office/Communications/Haverford-College-

      Social-Media-Policy-2024.pdf


82.   These instructions are systematically violated on a recurring basis by students who have

      attacked Jewish students at Haverford who support Israel or who attend religious

      services, and the institutions at which such services are held, and the people, students and

      non-students, who help to operate such institutions. Yet Haverford has taken no action to

      enforce its social media policy to protest Jewish students from these attacks.


                                    3. Haverford Poster Policy
83.   Haverford College Policy, bars anonymous persons from hanging posters. It provides:

             The posters and other small notices must contain the name of the sponsor(s). An
             e-mail address where the sponsor can be reached should also appear on the notice.
             https://www.haverford.edu/student-engagement-leadership/campus-
             communication-and-advertising

84.   The Administration has repeatedly taken no action, despite express requests that enforce

      this policy, when anonymous student groups hung posters throughout the campus, calling

      for a revolution that would culminate in Palestine stretching “from the River to the sea.”




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85.   In violation of the College’s policy on posters, the posters did not identify the person or

      entity responsible for the poster.

86.   The phrase “from the River to the sea” is a quote from the Hamas Charter calling for the

      destruction of the State of Israel.

87.   Quoting the Hamas Charter is exactly as antisemitic as hanging a Confederate flag is

      racist. Both are symbols of movements devoted exclusively to the subjugation of a

      specific, victimized, group.

88.   Indeed, Khaled Mashaal, one of the co-founders and the former head of Hamas has

      clearly stated that the meaning of “from the River to the Sea” is the elimination of Israel

      as a Jewish state. “Especially after October 7th, there’s a renewal of the dream and hope:

      Palestine – from the river to the sea, from the north to the south.“

      https://www.instagram.com/lizzysavetsky/reel/C2ZyQ_8uBFv/

89.   When Haverford College defends the right of its students and faculty to trumpet this

      phrase and to put up posters with this phrase, they are supporting “the dream and the


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      hope” created for Hamas by October 7th. That is what Jews at Haverford understand

      when they see this phrase, and they understand it for good reason: because it’s what the

      speaker of this phrase says he means when he says it.

90.   The White House has recently recognized that quoting Hamas is an attack on Jews as

      Jews: “echoing the rhetoric of terrorist organizations, especially in the wake of the worst

      massacre committed against the Jewish people since the Holocaust, is despicable.”

      https://www.whitehouse.gov/briefing-room/press-briefings/2024/04/23/press-gaggle-by-

      deputy-press-secretary-andrew-bates-and-national-security-communications-advisor-

      john-kirby-en-route-tampa-fl/.

91.   And on November 21, 2023, the United States House of Representatives passed H.Res.

      883, a Congressional Resolution “[e]xpressing the sense of the House of Representatives

      that the slogan, ‘from the river to the sea, Palestine will be free’ is antisemitic and its use

      must be condemned.” https://www.congress.gov/bill/118th-congress/house-

      resolution/883. The House declared that “the slogan ‘from the river to the sea, Palestine

      will be free’ is an antisemitic call to arms with the goal of the eradication of the State of

      Israel, which is located between the Jordan River and the Mediterranean Sea,” and that

      “the slogan seeks to deny Jewish people the right to self-determination and calls for the

      removal of the Jewish people from their ancestral homeland.”

      https://www.congress.gov/bill/118th-congress/house-resolution/883/text.

      The House recognized that “Hamas, the Palestinian Islamic Jihad, Hezbollah, and other

      terrorist organizations and their sympathizers have used and continue to use this slogan as

      a rallying cry for action to destroy Israel and exterminate the Jewish people.” Id. The




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      House specifically recognized that “this rallying cry can promote violence against the

      State of Israel and the Jewish community globally.” Id.

      Resolution 883 declared it “the sense of the House of Representatives that

                 a. the slogan, ‘‘from the river to the sea, Palestine will be free,’’ is outrightly

                     antisemitic and must be strongly condemned;

                 b. this slogan is divisive and does a disservice to Israelis, Palestinians, and all

                     those in the region who seek peace;

                 c. this slogan rejects calls for peace, stability, and safety in the region;

                 d. this slogan perpetuates hatred against the State of Israel and the Jewish

                     people; and

                 e. anyone who calls for the eradication of Israel and the Jewish people are

                     antisemitic and must always be condemned. Id.

92.   Haverford College would not for a moment tolerate a student hanging a Confederate flag

      on campus and would recognize that doing so promotes intolerable racism.

93.   Although hanging a Confederate flag is protected by the First Amendment—just as many

      racist statements are protected speech—that fact would not stop Haverford College from

      preventing the display of Confederate insignia or nooses or any other visual depictions

      that have become associated with anti-Black animus.

94.   When a Confederate flag was hung at Bryn Mawr College, Haverford College students

      joined en masse in demonstrations that forced the removal of the flag and the issuance of

      an apology by the students who had displayed it. https://haverfordclerk.com/at-bryn-

      mawr-demonstration-tri-co-community-stands-against-racism/

95.   In fact, Haverford has refused to send its athletic teams to train in a state because the

      Confederate flag was on display somewhere in that state, though not at the location where
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       the team would have been. https://www.haverford.edu/college-

       communications/news/haverford-students-take-action

 96.   While Haverford tolerates the presence of many dozen antisemitic posters put up in

       violation of its policies, Haverford also tolerates the destruction and removal of posters

       advertising Jewish community events even when they have nothing to do with Israel.

 97.   Thus, for example, on March 29 and 31, two different events for the Jewish community

       took place on the Haverford campus: a Shabbat dinner and a discussion of Jewish

       identity. Posters were put up on campus advertising the events.

 98.   Many of the posters were torn down almost immediately. When a Jewish leader and

       several Jewish students complained to the Haverford Administration and asked that this

       be investigated and the perpetrators be held to account, the response was that the

       investigation was “inconclusive,” and that there was nothing that Haverford could do, but

       that in all likelihood “the wind had blown down the posters” (including, apparently, those

       posted indoors and those with four corners of the poster remaining affixed with adhesive

       and only the middle content was ripped away).

 99.   No member of the Haverford Administration publicly acknowledged the intentional

       destruction of the posters and condemned this blatantly antisemitic act. Instead, President

       Raymond issued a public statement on April 9 stating that, if there had been a “a targeted

       removal of any of these materials on the basis of their promotion of Jewish activities,”

       that “would be a clear case of antisemitism.”

       https://www.haverford.edu/president/news/more-inclusive-learning-community.

100.   In fact, just days prior, on April 5, 2024, a Haverford student had posted on his

       pseudonymous Twitter/X page an obscenity-laced statement that he was one of the



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       students who tore down the posters for the two events: “i be tearing down chabad posters

       and eating them like f*ckin fruit rollups.”




101.   As far as Plaintiffs are aware, this Haverford student, whose identity—Harrison

       Lennertz—was and is known to Haverford College, has received no punishment or even

       been notified that the hateful actions he celebrated engaging in are being investigated as a

       violation of Haverford policies and “a clear case of antisemitism.” He remains on

       campus, having been photographed as recently as April 14, protesting against the

       showing on campus of a documentary, Supernova, which describes and depicts the

       horrors committed by Hamas against Israelis who were attending a music and dance

       festival in southern Israel on October 7, 2023.


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                  E. Haverford Since October 7


102.   Haverford’s response to the Hamas massacre in Israel on October 7, 2023, must be

       assessed against this historical backdrop of antisemitism and the Administration’s refusal

       to address it, as well as the College’s deeply sympathetic response to other minorities

       when violence is threatened against them—solicitude which Haverford’s Jews had every

       right to expect would be extended to them as well in their hour of pain. But it was not.

103.   In response to Hamas’ unprovoked attack, murder, mutilation, and rape—including death

       by rape—and kidnapping of innocent Israelis, the Administration did not condemn

       Hamas even though a great many other attacks on people from other ethnic groups had

       been the subject of official Haverford College condemnation.

104.   Rather, on Monday, Oct. 9th (two days after the genocidal antisemitic Hamas terrorist

       attack on Israel), Dean McKnight and Vice President Nikki Young sent an e-mail on

       behalf of the Administration to the Haverford student body which compared natural

       disasters (i.e., earthquakes, hurricanes, and wildfires) to the “outbreak of war in Israel and

       Gaza,” with no mention of the truth of what occurred on Oct. 7th, a heinous act of

       antisemitic terrorism committed by the Hamas terrorist group (as designated by the U.S.

       and other governments).

105.   Haverford’s equating these atrocities to a natural disaster—for which no human being is

       responsible, and for which no moral judgment is therefore appropriate or even possible—

       constituted Haverford’s refusal to morally condemn the mass murder of Jews. President

       Raymond approved this email in advance and the Administration has never retracted it.

106.   On or about October 11th, Haverford College Professor Tarik Aougab expressed

       jubilation and support for the genocidal terrorists who slaughtered hundreds of innocent


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       Jews with a post on Twitter/X stating, “Let your rage drive your unequivocal and firm

       support for the Palestinian resistance.”




107.   Professor Aougab also reposted a “tweet” which says “[w]e should never have to

       apologize for celebrating these scenes of an imprisoned people breaking free from their

       chains. This was a historic moment to be recorded in the history books.” The “tweet”

       included a picture of Hamas terrorists in bulldozers breaking through the fence at the

       Israel/Gaza border on their way to commit their depraved acts of antisemitic genocide.




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108.   Academic freedom and freedom of speech are core American values, but just as yelling

       out “Fire!” in a crowded movie theater exceeds those protections, glorifying and telling

       others to glorify hideous torture, mutilations, and slaughter of innocents requires a

       corrective response—especially given that Haverford College responded decisively and

       with punitive consequences to negative social media posts about other minority groups

       which stopped short of calling for or glorifying grotesque murders by terrorists.

109.   Speech encouraging or praising the mass slaughter of any other minority group would

       never be tolerated on Haverford’s campus. Anyone engaging in such speech, including

       tenured faculty, would be disciplined or even summarily removed.



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110.   Any doubt whatsoever about Professor Aougab’s propensity for supporting terrorism and

       Jew hatred is removed by the fact that he is active in the Just Mathematics Collective, an

       antisemitic group that glorifies terrorism and hunts and maps Jews.




111.   The antisemitic nature of the Mapping Project, with which Professor Aougab is

       associated, is so clear that the project has been disavowed even by the leadership of the

       Movement for Boycott, Divestment and Sanctions against Israel.

       https://www.timesofisrael.com/bds-movement-disavows-boston-project-mapping-jewish-

       groups/

112.   Although the Haverford College administration has frequently called out injustice

       inflicted on other minority groups; it had nothing public to say about the moral quality of

       Hamas’s massacre of Jews. Thus, on October 12th, President Wendy Raymond spoke

       impartially about the “certainty of more devastation to come for Israelis and Palestinians

       alike” without stating the truth that the Hamas terrorist attack was the actual

       commencement of war by Hamas (the governing authority in Gaza) against Israel.

113.   This is the equivalent of speaking neutrally about a “struggle” between George Floyd and

       the police who murdered him, or the many other instances of police violence against

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       people of color which Haverford has repeatedly and public condemned. For the Jews,

       Haverford displayed careful neutrality about depraved, intentional violence done to Jews

       that Haverford has never displayed for attacks on any other minority group.


                  F. Ally’s Teach-In
114.   The statements and omissions of the Administration’s Oct. 9th and Oct. 12th

       communications made it clear to Haverford students and faculty what was already clear

       from the Administration’s inaction during the 2020 student strike: that antisemitism is

       and would continue to be tolerated (and as later observed, even praised and therefore

       encouraged) without fear of response by the Administration or consequences for those

       who engage in antisemitic speech and conduct.

115.   In response, on the evening of October 12th, Ally Landau requested that President

       Raymond issue a communication to the Haverford student body condemning

       antisemitism and the Hamas terror attacks.

116.   President Raymond refused to publicly condemn Hamas, and indeed, since October 7,

       she has continued to fail to condemn Hamas. When, during an earlier conversation,

       Ally’s father, Jeffrey Landau, asked why she refused to condemn Hamas, President

       Raymond told him that she “didn’t think she had to tell people what Hamas is.”

117.   Ally was stunned and outraged by President Raymond’s refusal to explain what actually

       happened on October 7. Ally stated that she would explain this herself to the College

       community, and President Raymond assented. And so, the college student was left to be

       the responsible grown-up, given the abdication of that role by Haverford College’s

       President Raymond.




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118.   By refusing to take any steps to address antisemitism on Haverford’s campus herself, and

       instead condoning Ally’s brave determination to do it on her own, Haverford College’s

       President Raymond was effectively attempting to assign to Ally President Raymond’s

       own statutory duty to ensure that Haverford College not be a hostile environment for

       Jewish students. This attempted assignment is a wholecloth failure by President

       Raymond to fulfill the entirely nondelegable duty imposed upon this and all college

       presidents by Title VI of the Civil Rights Act of 1964.

119.   Ally therefore prepared her own presentation to deliver to the student body. This

       presentation took place on November 1, 2023. Before Ally walked into the room

       scheduled for her presentation, several students from the avowedly and wildly anti-Israel

       organization known as Students for Justice in Palestine (“SJP”) hung posters proclaiming

       various Hamas slogans, such as “From the River to the Sea Palestine Will Be Free.”

120.   Once Ally entered the room to set up for her presentation, the SJP students hung similar

       posters around the outer door to the room, signaling to Jewish students who planned to

       attend that they would encounter intimidation and harassment inside. And indeed, nearly

       if not all Jewish students who arrived to hear Ally speak turned away and didn’t enter the

       room because of the hostile posters.

121.   Not a single member of the College administration attended Ally’s presentation during

       which she was attacked and interrupted throughout by the hostile students present. A

       friendly staff member who was present later told Ally’s parents that she had been

       concerned for Ally’s safety.




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                    G. A Student is Shot in Vermont by a Hamas Supporter, The Jews at
                       Haverford are Blamed and Haverford’s President Does Nothing

122.    On November 25, 2023, a Haverford student, Kinnan Abdalhamid, was shot and injured

        in Vermont, while walking along with two other young men. All three young men come

        from the Middle East, are native speakers of Arabic, and at least two were wearing

        keffiyahs at the time of the shooting. 2

123.    Abhalhamid and his companions were assumed to have been victims of anti-Arab and

        anti-Muslim hatred.

124.    Haverford College’s response to the shooting was immediate, intense, and broad. A

        statement was issued by President Raymond on Sunday, November 26, 2023,

        condemning the crime. https://www.haverford.edu/president/news/haverford-student-

        hospitalized-following-shooting-vermont.

125.    The next day the President issued another, much longer statement, identifying the crime

        as a hate crime and denouncing it as such, and making available extensive resources for

        counseling and emotional support. https://www.haverford.edu/college-

        communications/news/caring-one-another-following-weekend-violence.

126.    A student vigil was held on November 27, 2023, held in response to the shooting of

        Abhalhamid and his companions. Haverford’s Nikki Young to attend, and participate

        enthusiastically in, this vigil, stands in stark contrast to the complete absence of any

        Haverford College administrators from Ally’s teach-in presentation. Leaders of the

        Haverford Jewish community and pro-Israel students also attended this vigil in solidarity




2 The keffiyah is a black and white checkered scarf adopted by Yasser Arafat when Arafat was head of

the Palestine Liberation Organization, which engaged in violent resistance against the Jewish State.
Keffiyahs are now frequently worn by supporters of such resistance.

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       with the injured student and the Haverford Muslim community. Nonetheless, at the vigil,

       Vice President Young expressed sympathy for Palestinians struggling against what she

       recklessly termed a “genocide committed” by Israel. This was apparently in reference to

       the casualties incurred in urban combat in the Gaza Strip—even though those casualty

       numbers (even those claimed by Hamas) are at a level commonly encountered when

       Western militaries constrained by international law have engaged in urban combat with

       Islamist fighters who routinely violate the law of war by erasing the fundamental law of

       war distinction between combatant and noncombatant.

127.   After Vice President Young’s hostile comments, Jewish students and leaders left the vigil

       and later filed bias reports against Young and notified other members of the

       Administration, but no action was taken. Vice President Young is the person who

       oversees and has ultimate control over all bias reports.

128.   Ally, as a vocal and proud Jewish leader, exemplified the Jewish presence at Haverford

       College in large part because she led the teach-in presentation referenced above at

       ¶¶ 117-120. Because she spoke out in support of Israel’s right to exist as a Jewish state,

       pro-Israel students—and Ally in particular—were later explicitly charged with personal

       responsibility for the attack on Abhalhamid in a Vermont town.

129.   The person who shot Abhalhamid was a supporter of Hamas and had posted on his social

       media attacking Israel’s right to exist and to defend itself. By December 6, 2023, it was

       publicly reported that Jason Eason, the accused shooter, had posted messages on social

       media attacking Israel and supporting Hamas:

       “In an October 17 post on X responding to a different article, Eaton wrote that "the notion
       that Hamas is 'evil' for defending their state from occupation is absurd. They are owed a
       state. Pay up.”



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       https://www.sevendaysvt.com/news/driven-by-hate-man-charged-in-burlington-shooting-
       was-a-volunteer-with-a-troubled-personal-life-39673363.

130.   Nonetheless, because Ally had publicly stated the pro-Israel position at a campus event

       and in a campus-wide email, her fellow Haverfordians claimed in a Grievances

       Document they shared with the entire Haverford College community, that pro-Israel

       students and Ally in particular bore personal responsibility for the shooting of their

       fellow Haverford College student. Worse: Haverford’s President Wendy Raymond, to

       whom the document containing this unfounded accusation against Ally was formally

       presented by its authors, has never publicly done or said anything suggesting she

       disagreed with the accusation, that it lacked a factual basis, or that the accusation was a

       violation of any rule governing speech at Haverford College.

131.   Rather than trying to make peace among her divided student body by calling their

       attention to the fact that the shooting of Abdalhamid was indeed a tragedy, but that he

       was not targeted because of his race or religion, President Raymond has consistently

       ignored this fact. Instead, the College has continued to focus on the racial aspects of a

       horrible and hateful crime, and Abdalhamid is presented as the object of anti-Muslim,

       anti-Arab and anti-Palestinian hatred when in fact it is clear from the shooter’s own

       words that these were not his motivations.

132.   Among the forms of support offered in the wake of Abhalhamid’s shooting was what

       Haverford’s President explicitly denominated as “Islamic Grief Counseling” as well as

       separate, apparently non-Islamic, psychological counseling, and various other forms of

       emotional support—including the vigil held regarding the incident referenced above at ¶¶

       120-21, as well as numerous other meetings between the College’s students and its senior

       Administration, and the President’s own action to “reach out today with my heart and


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       soul full of care, love and support for our beloved Palestinian, Muslim and Arab

       students.”

133.   No “Jewish” or “Israeli” grief counseling was offered by Haverford College in the wake

       of the mass slaughter of Jews perpetrated by Hamas on October 7, even though several

       Haverford students had relatives who were either killed or taken hostage, or whose

       families lived within the area attacked, and even though many Jewish and Israeli students

       were both stunned and left desolate by that attack on their co-religionists and fellow

       countrymen.

134.   Haverford’s President did not on October 8—nor has she since then—reach[ed] out” with

       her “heart and soul full of care, love and support for our beloved” Jewish and Israeli

       students and faculty.

135.   Rather, when Jewish students have approached Raymond about problems they were

       experiencing right there on Haverford’s campus—rather than in Vermont—from the

       hostility of, and attacks by, their fellow Haverford students and Haverford faculty,

       President Raymond has instructed the Jewish students to seek relief exclusively from the

       student body—i.e. from the very people and institutions which were inflicting the harm

       the Jews were seeking to mitigate.

136.   Thus, for example, on December 12, 2023, a Jewish parent wrote to Haverford’s

       President, forwarding an email from her son—a Haverford student—who described the

       sense of “betrayal” he felt by his peers, the isolation and demonization he felt as a Jew

       and a supporter of Israel.

137.   President Raymond’s response offered absolutely nothing in the way of care, love,

       attention, or any interest in having the adults who run Haverford College provide relief of

       any kind to Haverford’s Jews. Instead, Raymond instructed: “Given your son’s
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       experience, if he feels that he experienced activity counter to the Code, I would

       encourage him to consider whether he wishes to use the Code’s various processes as a

       pathway toward reconciliation.” In other words, President Raymond thought it

       reasonable to and did so instruct Jewish Haverford students to ask the people who had

       themselves violated the Honor Code to judge themselves and their political allies and

       friends as the one source of relief for the aggrieved Jewish students.


                  H. Plenary at Haverford
138.   At Haverford, the annual student Plenary plays a pivotal and sacrosanct role in social and

       academic life at the College. It is the event in which the Student Body gathers to, among

       other things, discuss and vote to ratify the Honor Code. It is the time when all Haverford

       students are asked to gather as a community. It should be a safe space.

139.   Haverford’s public statements about Plenary, such as this one

       https://www.instagram.com/reel/C5Tz6rYJw_d/?igsh=ZXowMXBrMDJzdmtw portray

       Plenary as a communal event at which all members of the Haverford community come

       together respectfully to share ideas and speak convivially with one another. Plenary holds

       a hallowed position for Haverford students and alumni, one for which reverence

       regarding the procedural requirements loom larger in memory than do most of the

       substantive actions taken at individual Plenaries, and the fact of Plenary, if not each

       individual one that took place during students’ years on campus, remain as a central

       memory for Haverford alumni.

140.   The reality is that the two regularly-scheduled and one emergency Plenary held at

       Haverford College during the 2023-24 academic year have been hate fests with a

       monomaniacal focus on one issue: Demands that the State of Israel be forbidden to

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       exercise self-defense in the wake of the most grotesque attacks on Jews since the

       Holocaust, against an enemy that insists it will continue to inflict the same kind of

       massacres against the Jewish State “again and again” until Israel ceases to exist as a

       Jewish state. Indeed, the Spring Plenary was scheduled for the Jewish holiday of Purim (a

       holiday in which the Jews of the world’s then-largest empire survived a planned genocide

       only because the emperor gave them permission to defend themselves). Jewish students

       asked if it could be moved. They were refused.

141.   Currently at Haverford College and particularly at its Plenaries, any student who does not

       publicly trumpet his or her hatred for that State automatically becomes not only a pariah

       but is targeted as a “f*cking Zionist” against whom no slander or assault is sufficiently

       bad. As a result, the majority of Jewish students at Haverford during this past academic

       year experienced Plenary as a rally for enemies of their people and for them personally, at

       which the glorification and advancement of that enmity was the central topic of

       discussion. In fact, one Haverford senior decided to cut himself off from the essential

       Haverford experience altogether and did not attend a single Plenary during the 2023-2024

       academic year because the emotional toll would be too great.


                  I. Fall Plenary 2023
142.   The Haverford College Fall Plenary took place on November 5, 2023, less than a month

       after the Hamas massacre in southern Israel. When the Student Council sent an email to

       the Student Body notifying the student community of the time and date of Plenary, it

       also gratuitously affirmed their support for students aligned with the SJP Plenary

       Agenda, and thus against the Jewish students who did not agree with that organization’s




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       antisemitic vendetta. This created an environment of intimidation and harassment at

       Plenary for Jewish students.

143.   On information and belief, students planning the first Plenary of the year secretly

       coordinated with SJP members so that SJP could present a wildly biased account of the

       armed conflict just then unfolding between Israel and Hamas, vociferously condemning

       Israel, mischaracterizing Israel’s efforts at self-defense and demanding that Israel

       immediately cease its effort to defeat Hamas: a ceasefire was the only “humane” action to

       be supported. Anything other than support for a full and immediate ceasefire, Haverford

       students were told then, and told repeatedly thereafter, meant support for genocide.

144.   The basis for alleging that the SJP students and the Students Council leadership had

       arranged in advance to surreptitiously prepare for a one-sided discussion of the Middle

       East conflict is that while there was nothing in the official and public Plenary information

       to indicate in advance of the Fall Plenary that there would be any discussion of the

       Middle East, somehow the SJP students knew this would be a part of Plenary, and for this

       reason many members of that group signed up in advance to speak during the public

       comments segment of Plenary, and that the SJP members also arrived at the Fall Plenary

       with a Powerpoint presentation laying out their antisemitic vitriol, which Plenary was

       equipped for and ready to present and did present.

145.   Amongst the anti-Israel, pro-Palestinian statements made by SJP members at the Fall

       Plenary, E.S. said:

       -   “The Israeli government is committing genocide against the people of Gaza”;
       -   “we’ve seen an extreme escalation of the ongoing apartheid Israel has imposed on
           Palestinians for the past 75 years.”

           A.K. proclaimed:


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        -   “Anti-Zionism is the opposition of an oppressive government that has occupied
            Palestine for the past 75 years. They have taken our rights, they have pitted us
            against each other and made us hate each other. Being an antizionist does not mean
            that you are anti semitic. It’s very important to not tie anti zionism to antisemitism.
            When they are tied together, studies have shown that antisemitism has increased
            worldwide. This is because people start to think that the linking of Jewish people to a
            Jewish state means that all Jewish people support Israel. That is not the message we
            are trying to send as SJP. Anyone experiencing antisemitism should speak to
            someone in power”;
        -   “Next I want to talk about the phrase “from the river of the sea, Palestine will be
            free”. This is not an anti semitic phrase. …. many zionist organizations are trying to
            tie antisemitism to anti zionism. Opposing an oppressive government is not anti
            semitic” ;

            M.Y.B. said:

        -   “By now we’ve all seen the horrific scenes coming from Gaza. Hospitals, bakeries,
            schools, refugee camps, northern Gaza all left in ruin. I unequivocally denounce this
            massacre. But let me be clear: When I denounce the Israeli government, I speak only
            about the people in positions of power…. I will always denounce antisemitism and
            fascism where I see it.
        -   But what I see in Gaza is the cruel collective punishment placed onto the
            Palestinians who for decades have been upended from their homes and forcibly
            displaced …. We see a coordinated effort by the corporate establishment to paint the
            entire pro-Palestine movement as broadly antisemitic. I won’t hold back my punches
            when I say this is no different to those who chant ‘THE GREAT REPLACEMENT”
            upon any semblance of anti-racism. It’s this weaponization of identity politics that
            boils my blood.”
            https://docs.google.com/document/d/1kpa757cTV6qFk6uoQ0IfPCoF2cCw3mHxfQ
            p6UseX5Is/edit#heading=h.d90o8tmi9dji

146.   BiCo SJP (Haverford college Bryn Mawr college are parties to a consortium which

       allows students at either school to take classes, eat, live, and participate fully at the other

       college.) also announced their demands on Haverford College at the Fall Plenary. Those

       demands included transparency about all financial investments in Israel; divestment from

       Israeli academic institutions; cutting ties with Birthright; pressuring Senator John

       Fetterman and Representative Mary Jo Scanlon to support a ceasefire; paying for a

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       speaker series or art installation on the campus to educate the community, about Gaza

       and the provision of both “academic leniency and material support for Palestinian

       students with family impacted by the war and who are experiencing collective trauma.”

147.   Haverford’s Jewish community was blindsided by the one-sided and mistruth-laden

       diatribe about the unfolding conflict in the Middle East. Several knowledgeable Jewish

       students sought the opportunity to speak against the wild claims and misinformation

       presented by the anti-Israel students. The SJP students spoke beyond their allotted time

       and the Students’ Council leadership decided that the time for public comment had ended

       before a single Jewish anti-ceasefire student was permitted to speak. The reason given for

       silencing the Jewish students was that they, unlike the SJP pro-Hamas, pro-ceasefire

       students, had not signed up in advance to speak.

148.   After importuning by a Jewish student, Dean John McKnight sent a text to the Students

       Council leadership suggesting that they reconsider and allow the Jewish students to

       speak, but this note was ignored, and the Administration made no further efforts to ensure

       that the public comments section offered a balance of opinions and information on one of

       the most controversial and explosive topics circuiting the globe. President Wendy

       Raymond was present throughout the event, witnessed the decision to bar the Jews from

       speaking, and did nothing.

149.   The demoralized Jewish students were aghast that the Students’ Council leadership had

       acted to deny them the opportunity to speak, and had seemed to conspire with the

       antisemitic, pro-Hamas students to sneak in a heavily fraught topic to Plenary without

       giving fair notice to Haverford’s Jewish community which they knew would be opposed

       to a one-sided harangue about the Middle East conflict. But they were even more

       dismayed that the leadership of their college’s Administration had allowed the hallowed
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       tradition of Plenary to be hijacked for such a wildly political and antisemitic action,

       without doing any more than sending a note, and sitting quietly when the note was

       ignored.

150.   President Wendy Raymond and Dean McKnight were present for the entire Plenary

       session. They witnessed the orchestrated ceasefire discussion; witnessed the SJP students

       speaking beyond their allotted time without being effectively stopped; witnessed the

       Jewish students who opposed the tenor and content of the discussion being barred from

       speaking at all. As it turned out, Dean McKnight’s flaccid attempt to intervene via a text

       sent to the Students’ Council leadership, while Plenary was being conducted, was—not

       surprisingly—not even seen by the Council leadership until Plenary had concluded.

151.   But what College President Raymond did was worse than nothing: when the Plenary

       concluded, President Raymond publicly praised it as a “great success.”




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152.   The rules governing Plenary were also violated in that the purpose of Plenary is for

       students to debate and decide issues relating to how the college is run. It is not designed

       as a referendum on political issues that have no impact on governance of the College.

       This is most clear in that Plenary has no jurisdiction for holding referenda on issues

       bearing on the religious commitments of some Haverford students—and thus becoming a

       forum for the denunciation of those commitments.

153.   Yet that is exactly what occurred at all of the Plenaries during the 2023-2024 academic

       year.




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                  J. Email Plea on Behalf of Silenced Jewish Students
154.   In response to being silenced at Plenary and in the face of the Administration’s inaction

       and President Raymond’s praise for the blatant acts of harassment and intimidation of

       Jewish students, on November 8, 2024, Ally sent a letter “In the name of many

       concerned Jewish students at Haverford and Bryn Mawr” to the entire Haverford

       community using Haverford’s all-college email system. Ally did so on behalf of the

       many concerned Jewish students because they were so fearful of having their own

       names attached to anything that branded them as supportive of the Jewish State. That

       letter is attached hereto as Exhibit A.

155.   Ally not only had express permission from Dean McKnight to use the all-college email

       system for this purpose, but it was Dean McKnight himself who pressed “send” to

       transport Ally’s letter on behalf of Haverford’s silenced Jewish students to the entire

       Haverford community.

156.   That letter was an effort to respond to the SJP’s otherwise unanswered attack on the

       Jewish State at Plenary, and it defended Israel’s right to exist and to its self-determination

       and self-defense.

157.   Even this effort was turned against the Jewish members of the Haverford community

       when Ally was publicly pilloried by students for daring to use the College’s all-campus

       email service.

158.   Emboldened by the Administration’s inaction, on or about November 27, 2023,

       antisemitic students at Haverford College published what is entitled the “Haverford

       Grievances Document,” which was an antisemitic screed shared with the entire Haverford

       community. The document is attached hereto as Exhibit B.



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159.   This Grievances Document included two direct attacks on Ally Landau, which purported

       to be based on Ally’s own email to the Haverford community—a message which

       threatened no-one and attacked no-one. The existence of the attacks on Ally in this mass

       communication by antisemitic students was known to the Administration, which

       nonetheless failed to take action to protect Ally. Ultimately, a worried member of the

       Haverford Community contacted Ally’s parents, Jeff and Michele Landau, on November

       30, and informed them of the potential danger to Ally created by the appearance of her

       name in the Grievances Document.

160.   The Haverford Grievances Document laid blame on Haverford College and specifically

       on one of its students who was identified by name—Ally Landau—for the Arab students

       being shot in Vermont over the 2023 Thanksgiving vacation.

161.   In response to this accusation, Michele and Jeff Landau called President Raymond’s

       office to find out what Haverford would do to protect their daughter. The Landaus made

       this call in shock over the display of utter indifference by the Administration to the

       wellbeing of a Jewish student. It is inconceivable that Haverford’s response would have

       been as phlegmatic if a similar accusation had been made against a student from a

       different minority group. The fact that the College failed even to notify the Landaus

       about the threat posed to their daughter’s safety is itself an outrage.

162.   When the Landaus spoke with President Raymond, they insisted that the college

       president take action to protect their daughter. During this conversation, President

       Raymond refused to identify any action she would take on Ally’s behalf, and initially

       refused to take any at all. The only thing the Haverford College president grudgingly

       agreed to do was that she and her Administration would attempt to remove Ally’s name

       from the circulating Google Doc version of the Grievances Document.
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163.   President Raymond specifically warned the Landaus that she would only engage in

       dialogue with those individuals responsible for the document—she clearly knew who

       they were—but repeatedly asserted that Haverford College believes in “restorative

       justice” and not “punitive action.” At least one member of the College Administration

       acknowledged that the Grievances Document contained “elements . . . reasonably read as

       anti-semitic.” Notwithstanding this, Haverford’s President Raymond not only thanked

       the writers of the Grievances Document for engaging with her and the College

       Administration, but she also praised the Grievances Document intself as “dialogue” that

       Raymond found “open, honest thoughtful and constructive.” See Wendy Raymond letter

       of December 3, 2023, to “student writers, Maria and Jorge,” attached hereto as Exhibit C.

164.   President Raymond’s letter responded carefully and respectfully to each topic in the

       Grievances Document, promising responses within 24 hours as well as a series of

       meetings, scheduled within a day or two, as the students had demanded, to discuss each

       Grievance topic. President Raymond’s letter to the students who wrote the document

       said nothing about antisemitism or falsely accusing a fellow student, and indeed nothing

       negative at all about any aspect of the Grievances Document.

165.   The one action taken by the Haverford Administration to protect Ally after she had been

       denounced as an accessory to attempted murder of a well-known student from a favored

       minority group, is that Ally’s name was ultimately removed from one version of the

       online Grievances Document—and this action was taken only after Ally’s parents

       insisted repeatedly that this be done. The identification by name of Ally Landau still

       remains in the PDF version of the Grievances Document which had already been

       distributed by Haverford students to most of the College’s student body. No correction

       was ever demanded by the Administration, much less issued.
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166.   The Administration made no statement, campus-wide or otherwise, to correct, or to

       mitigate the effect, of the initial communication, or even to suggest that Ally in fact bore

       no responsibility for the attack on her fellow student.

167.   After the Landaus had remonstrated with President Raymond, she spoke with Ally. But

       the only thing President Raymond was willing to offer was the feeble suggestion that

       Ally might want to avail herself of the College’s mental health counseling services. Ally

       found the suggestion that she was in need of mental health services, rather than that her

       fellow students were in need of discipline, to be profoundly insulting.

168.   The Grievances Document states explicitly that its authors view any speech supporting

       Israel’s right to exist as a Jewish state as an attack on Palestinian students, or those who

       support such students, and that such speech cannot be tolerated on Haverford’s campus.

169.   President Raymond proffered absolutely no criticism for any part of the document,

       including its demand that Haverford not permit or facilitate the expression of any view

       about Israel with which the document’s antisemitic authors disagree.

170.   Rather than condemning this accusation, President Raymond claimed that Ally’s

       statement that SJP members had “hijack[ed]” the Plenary was morally equivalent to SJP’s

       calls for the extermination of the Jewish State: “From the River to the Sea.”

171.   As alleged, supra ¶86, “From the River to the Sea” is a call for the destruction of the State

       of Israel and the genocide of the Jewish people. President Raymond did not explain why

       “hijacking” is a term that has any racial connotation, or why it suggests the same level of

       racial vituperation as does a phrase that calls for the elimination of the Jewish state and

       all the Jews within it.

172.   Hijacking a meeting refers to one group taking control and dominating a meeting (which

       is what occurred at the Plenary meeting) and is not a discriminatory phrase. Comparing
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       these two phrases and deeming them equivalent is blatantly antisemitic, but more

       importantly, it sent a clear message from the Administration to the student body that it

       will do more than tolerate, it will sanitize hate speech—but only when it is antisemitic.

173.   In her enthusiasm to lavish praise on the authors of the Grievances Document, President

       Raymond had no interest in calming the antisemitic Haverford students who believed that

       the shooting was caused by support for Israel, or by supporters of Israel such as Ally

       Landau and her fellow Jewish students at Haverford. As a result, she said nothing

       publicly to suggest that Ally was not responsible for this violence.


                  K. The Sit-In at Founders Hall
174.   On December 5, 2023, Haverford students occupied the space surrounding, and took

       over the Founders Hall building for more than a week. Founders Hall is the main

       administrative office on the Haverford College campus. It is located on the main

       quadrangle, is adjacent to the library, and is on the path to Haverford’s dining hall. In

       other words, it is centrally located on campus, and is a site which almost all students

       have to pass through nearly every day.




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175.   The students who took over Founders Hall and its surroundings hung banners outside

       the building, and daily conducted antisemitic chants that were intended to, and had the

       effect of, intimidating and harassing Jewish students. Jewish students were forced to

       endure this harassment on a daily basis. Their only alternatives were to take lengthy

       detours around the middle of campus, hide in their dormitory rooms, or flee campus.

176.   Mathematics professor Tarik Aougab was invited to, and did, present a public talk at

       Founders Hall during the Sit-in, charging that Israel’s creation was an exercise in white

       supremacy and charging the Jewish state with genocide and apartheid. Because Founders

       Hall is at the center of the campus, Jewish students were daily forced to listen to

       declamations such as this, as well as to chants quoting from the Hamas Charter, and

       derisive comments about Jews and the Jewish state, as they traversed the campus on their

       way to and from classes or meals.



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177.   Such daily attacks transformed the educational experience of the Jewish students and

       made their presence on campus a source of dread, which could be endured only at the

       price of constant public denunciation of their ethnic, religious and ancestral commitments

       by students and faculty.

178.   President Raymond publicly commended the antisemitic activities of the “Sit-in.” She

       praised the Sit-in itself as “a recent example of peaceful protest,” and promised that

       Haverford College would take “no punitive action” against the participating students..

179.   President Raymond publicly issued this praise even though she acknowledged explicitly

       to the Landaus that the Sit-in violated multiple Haverford rules. When Mr. Landau

       challenged her on how she could allow conduct in clear violation of the College’s rules

       and which—by the way—was incredibly disruptive and painful to Haverford’s Jewish

       students, President Raymond answered that she feared that if she took action to stop it,

       even worse behavior by the students would result.

180.   President Raymond’s entire satisfaction with the Sit-in continued until the students—

       outraged that a week of protest had not forced the College to submit to their demands that

       they direct Israel to agree to a ceasefire and that Haverford College divests itself entirely

       from Israel—placed stuffed garbage bags mimicking body bags outside President

       Raymond’s office. That, for Haverford’s Administration, was a step too far.

181.   Dean McKnight ultimately put an end to the Sit-in, which he decided had created a

       “hostile work environment” because the staff of the College felt threatened by the

       students’ continued presence in the building (which has no classrooms) and by their use

       of mock body bags to protest what they claimed were the deaths caused by the Israel

       Defense Forces action in Gaza. https://haverfordclerk.com/opinion-with-regards-to-

       protest-administration-has-failed-haverford/
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182.   Here yet again Haverford demonstrated its complete indifference to hostility directed at

       Jewish students. When protest activity upset Haverford staff, the administration

       denounced it as creating a “hostile work environment” and they put a stop to it. When

       the same conduct, by the same “protesters” had the same impact on Haverford’s Jews, it

       was blessed as protected expressive activity, and the Jews’ suffering was of no

       consequence.


                    L. Cancelation of the Antisemitism Awareness Event
183.   Ally Landau sought and obtained permission from Vice President Nikki Young in

       November 2023 to dedicate a home women’s basketball game to Antisemitism

       Awareness.

184.   The College has dedicated games to a a variety of causes, including a game to promote

       awareness about diabetes.

185.   After speaking with Vice President Young, Ally met with the Assistant Director of

       Athletics Jason Rash to look at the athletic calendar. Rash told Ally that February 6,

       2024, was available, and the Antisemitism Awareness Game was scheduled for that date.

       Approximately a month before the game was to take place, Ally reached out to all

       concerned to confirm everything was set. She was not told at that time that there was any

       problem with the concept of the game or its intended execution.

186.   But less than a week before the game was to take place, Ally was summoned to a meeting

       with Dean John McKnight and the Athletic Director Danielle Lynch. When Ally arrived

       at the meeting, she was shocked to hear from these College Administrators that there was

       a problem.




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187.   The problem, Ally was told, was that an Antisemitism Awareness basketball game might

       prove too antagonistic to the pro-Palestinian students on campus. Ally was told by Dean

       McKnight that the College might not be able to control the anticipated mob of antisemites

       from storming the basketball court and refusing to leave. Were that to happen, Ally was

       informed, the Haverford women’s basketball team would have to forfeit the game, as

       required by the NCAA rules. Ally was shocked when she heard this.

188.   Ally understood that the college leadership was telling her that the team’s loss would be

       entirely her fault and it would be selfish of her to cost her teammates a win. Ally Landau

       is a strong and proud young woman, but it is impossible to ignore the power imbalance in

       that meeting—high level College administrators bearing down on one student, and not

       one of them offering what any reasonable campus official should have promised: that of

       course the college would ensure the presence of sufficient security to ensure that a brute

       mob would not cost the Haverford team a loss. The game went on, but there was no

       mention of Antisemitism Awareness.

189.   Dean McKnight, President Raymond and Chief of Staff Jesse Lytle subsequently claimed

       to complaining parents and alumni that Ally Landau decided on her own to cancel the

       Antisemitism Awareness component of the game, and that Dean McKnight had offered to

       support the team if she chose to go forward with it. This is a lie.

190.   Mr. Jeffrey Landau, Ally’s father, spoke to Dean McKnight on February 6, 2024, and

       asked him why the Antisemitism Awareness component of the game had been canceled.

       Dean McKnight told Mr. Landau that Ally never had approval for the event. Mr. Landau

       responded that this was incorrect, and that Vice President Young had not only granted

       approval, but that the Antisemitism Awareness game had been approved for the February



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       6 date. Dean McKnight then said that Haverford Vice President Young had given only

       “general approval.” When Mr. Landau asked Dean McKnight “what is the difference

       between ‘general approval’ and ‘approval,’” the Dean did not respond.

191.   Mr. Landau told Dean McKnight that it was clear to him that the Dean had pressured

       Ally to cancel the event. Dean McKnight answered that “maybe the pressure was coming

       from you [Jeff Landau] and the Chabad Rabbi”—a title he pronounced with clear disdain.

       Mr. Landau instructed Dean McKnight to cease conversations with his daughter. Dean

       McKnight answered: “as Dean of the College I can talk to any student whenever I want

       to.”

192.   It is unimaginable that this exchange, culminating with this clear display of contempt,

       would have taken place between any Haverford College administrator and the parent of

       any student from any minority group other than Jews.

193.   When Mr. Landau asked Dean McKnight what he and President Raymond were going to

       do to protect Jewish students from ongoing abuse, McKnight’s only answer was that [Mr.

       Landau] had “no idea how much heartache [McKnight] endured for allowing the Jewish

       students to use the all-campus server to send their email after the Fall Plenary.”

       Haverford College Dean McKnight considered himself the suffering victim.




                  M. Emergency Plenary
194.   In the second use of the Plenary system to intimidate Jewish supporters of Israel at

       Haverford, a second, “emergency” Plenary was held, devoted entirely to efforts to adopt a

       resolution condemning Israel for fighting against Hamas, and demanding that Israel cease

       doing so immediately.


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195.   This emergency Plenary was convened, and conducted, in a series of clear violations of

       the Haverford rules governing Plenaries and the rules the students had themselves put in

       place for the governance of Plenary proceedings.

196.   No effort was made by any member of the Haverford College administration to enforce

       those rules, to ensure that the Plenary would be conducted in compliance with them.

197.   The Haverford Constitution mandates the physical presence in the same room at Plenary

       of a quorum of students, with carefully defined relaxations of that requirement for

       students with disabilities or those with claustrophobia. The rules specify that if a quorum

       is lost the meeting must be suspended or ended. Rule 4..02(g)(i).

198.   The rules further provide that, simultaneously with the requirement that a quorum be

       physically present, only students who are physically present may vote. Rule 402(g)(iv).

199.   In clear violation of this rule the Emergency Plenary was held over four days, starting on

       February 29 and ending on March 3, during which voting took place during three of the

       days.

200.   Indeed, in an email exchange on March 4, 2024, between Ally Landau and Jorge Paz

       Reyes & Maria Reyes Pacheco, Students’ Council Co-Presidents, the latter two admitted

       that the Plenary rules had not been followed.

201.   In fact, the violations were so obvious that the co-Presidents knew about them before

       Ally called them to their attention: “To be frank,” they began their admission to Ally, we

       “were expecting this email.” They then continued for over a dozen paragraphs to

       admit/explain away their acknowledged rule violations.

202.   These rules were modified solely because the leaders of Students Council hoped to use

       them to cause the adoption of a resolution calling for Israel to immediately cease its war

       against Hamas, before Hamas is defeated.
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203.   Haverford’s Administration was put on notice of these violations no later than February

       25, 2024, by a letter to President Raymond from Haverford alumnus Bryan C. Hathorn.

       That letter is attached hereto as Exhibit D. It, and its warnings, were completely ignored

       by Haverford College.

204.   In clear violation of Plenary rules, the voting deadline was extended in an attempt to

       reach quorum. However, the resolution did not pass as quorum was not reached due to

       the refusal of Jewish students to participate.

205.   At a staff meeting later in March 2024, President Raymond and Dean McKnight

       effusively praised the efforts of the Students’ Council to get the resolution passed. Dean

       McKnight pointed out that the resolution did not pass due to the lack of quorum, and also

       stated that they did not know the views of the students who did not participate since they

       did not vote. Dean McKnight made this statement despite the fact that Ally had explicitly

       told him, in a meeting with others present including VP Young, that many Jewish

       students opposed the antisemitic nature of the resolution and were deliberately not

       participating so that quorum would not be reached. Dean McKnight was clearly

       disappointed that the Jewish student leaders chose this strategy. During her comments at

       the meeting, President Raymond indicated that if the resolution had passed, she would

       have signed it.

206.   A staff member (uncomfortable speaking in an open setting) submitted an anonymous

       question asking if President Raymond meant to say that she would sign it, and President

       Raymond answered “Yes.”




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                  N. Spring Plenary
207.   After the failure of the Ceasefire Resolution at the Emergency Plenary, a plan was

       devised to re-present the same resolution at the Spring Plenary. Students Council

       representatives stated that they needed to “focus on getting … signatures” for the re-

       presented resolution. As with the prior resolution for the emergency plenary, there was

       significant bullying and harassment to obtain signatures.

208.   The path into the building where this Plenary took place was lined with Palestinian flags.

       A student stood at the entrance and offered every person who entered a Palestinian flag,

       thus forcing entrants to either accept the flag or to be seen publicly refusing it –something

       that would lead to attacks, shunning and worse.




209.   The Spring Plenary was conducted, and ultimately the resolution was passed. However,

       Jewish students experiencing bullying and intense pressure. In the wake of Plenary, on

       April 9, 2024, the President of the College wrote to the community to highlight that

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       students—particularly Jewish students—“have felt fearful, silenced, or a protective need

       to self-censor.” Indeed, numerous students felt pressured into voting “for” the resolution

       against their conscience because votes were required to be public.


                  O. Haverford’s President Appears at a Jewish Event and Insults the Jews


210.   On March 31, 2024, President Wendy Raymond attended an event, called “How do you

       Jew,” hosted by a Jewish student group, at which numerous students shared their

       accounts of how they live their lives as Jews. Several Jewish Haverford community

       members spoke about their experiences as Jews on, and following, October 7.

211.   At this event, President Raymond was asked what statement would, in her mind, qualify

       as antisemitic. She answered that a “blood libel” would meet that definition.

212.   At the conclusion of presentations at this event, President Raymond was asked by several

       student attendees whether the post by Tarik Auogab, referenced above at ¶ 106-107,

       qualified as antisemitic. President Raymond answered that his statement “could be

       perceived in many ways.” Asked how she perceived it, she answered “I hear people

       breaking free from their chains.” In other words, President Wendy Raymond had

       completely imbibed and embraced the wildly antisemitic, vile glorification of the

       murderous rampage and unimaginable mass rapes of Israeli women that Haverford’s

       Professor Aougab praised following October 7. President Raymond then proceeded to tell

       these Jewish students that there were peaceful people from Gaza who invaded Israel with

       Hamas on October 7. This was another lie, and it was told to Jewish Haverford students

       by the president of their college at an event at which these students revealed the pain and




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       torment they had been experiencing on their college campus since October 7. The

       magnitude of this insult cannot be overstated.


                  P. Haverford Students and Faculty use the Podia Granted them by
                     Haverford College to Libel Israel, Zionism, and Anyone Who
                     Supports Israel or Zionism


213.   During the week of March 25 - 28, Haverford students presented a series of wildly

       antisemitic lectures and other events.




214.   On March 27, students presented the conspiracy theory that the state of Israel has

       intentionally infected the residents of Gaza with Covid. They hosted an event titled

       “Mass Death on all Fronts: Israel’s weaponization of Covid against Palestinians.” This

       claim, for which no respectable evidence exists, has exactly the same intellectual or

       evidentiary merit as the medieval blood libels that sought to hold the Jews responsible for

       the spread of the bubonic plague, or for claims that Jews murder Christian children so

       they can use their blood to make matzah for Passover. Such wild and false accusations,

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       and false demonization of an entire people, have led in the past, in places like Eastern

       Europe and elsewhere, to violence against Jews in the form of pogroms. The same kind

       of blood libels have ratcheted up the kind of mob mentality and mob violence being

       witnessed on college campuses today.

215.   Spreading any of these absurd and fact-free accusations against the Jewish state is

       antisemitic. Such claims have absolutely no place on the campus of an institution that

       claims to provide a serious education to thoughtful people. Even by President Raymond’s

       definition, see supra at ¶211, such an accusation is antisemitic.

216.   When confronted with the obvious antisemitism of this event, Dean McKnight suggested

       to the Weaponization of Covid’s promoters that they change the name of the event, but he

       saw no need to change the substance of what was to be said there.




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217.   At another of these antisemitic events, the claim was presented that it is the official policy

       of the State of Israel to attempt to maim Palestinians in order to subjugate them. The title

       of this event, held on March 25, was “No Disability Justice Without a Free Palestine.”




       Again, there is no evidence that such an evil scheme exists. People who claim to be

       academics, governed by academic standards of evidence for the evaluation of truth

       claims, cannot possibly advance such obviously antisemitic conspiracy theories, which

       have the same intellectual merit as the Protocols of the Elders of Zion. Yet Haverford

       College, which claims to be a serious academic institution, did nothing to prevent the

       propagation, by its own faculty, of such hateful mendacity.

218.   As alleged above at ¶¶106-110, Professor Aougab, who is a professor of Mathematics at

       Haverford, has used his podium as a teacher to glorify Hamas’s murder of Jews on




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       October 7, and to insist that the people who carried out these murders be left armed and

       in control of the Gaza Strip.

219.   In February, Prof. Auogab distributed the standards that had to be met before he would

       agree to write a letter of recommendation for any of his Haverford students. Along with

       what he required students to have or do, he also explained what he would not do. He

       wrote that he would not provide any recommendations for students seeking to study

       either in Israel or about anything related to Judaism. Had any professors laid out such

       conditions for writing recommendations that barred any other religion or tenet of any

       other religion, that professor would be under disciplinary review immediately and

       removed promptly thereafter.

220.   Prof. Auogab referred to Jewish Haverford students who oppose his antisemitic views

       and support the State of Israel as “racist genocidaires.”…. No Jewish student who is

       committed to Israel in any way could possibly expect to be treated as anything other than

       a criminal by this professor.

221.   Prof. Auogab continues to be employed by Haverford College and continues to teach

       Haverford students.

222.   On November 26, 2023, Haverford College professor Gina Velasco posted

       (https://www.facebook.com/mr.peabodycat) a message which included the expressions

       “F*ck Israel“ and “F*ck Zionism.” She remains an associate professor at Haverford, and

       Director of Gender and Sexuality Studies.

223.   The Students for Justice in Palestine Instagram account attached the Statement from

       Haverford College Faculty for Justice in Palestine (“FJP”) that references the “Israeli

       state’s genocidal violence against Gaza,” when in fact Hamas committed—and

       proclaimed it was committing and promised to continue to commit antisemitic genocidal
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       terrorist attacks against Israel, and Hamas which initiated a war against the Jewish state.

       FJP’s statement is clearly antisemitic.

224.   As alleged supra at ¶126, Vice President Nikki Young spoke at a vigil after the three

       Palestinian college students were shot in Vermont. She publicly accused Israel of

       committing genocide, thereby implying that there was some connection between Israel

       and the shooting of those Palestinian students.

225.   Other educational institutions have taken actions against faculty members using

       antisemitic rhetoric, but the Administration of Haverford College has taken no action

       against these faculty members, even though these faculty members are clearly teaching

       students to adopt hate-filled antisemitic views, and despite the effect such statements and

       actions by those teachers have on their Jewish students who are, like every other college

       student in America, entitled to an educational environment free of harassment and

       bullying.


                   Q. The “Fords’ Forum”
226.   In response to the large volume of complaints from Jewish students, parents, and alumni,

       President Raymond and Board Chair Beever initiated a new “Fords Forum: Virtual

       Event Series.” There was no acknowledgement that there was a need to affirmatively

       address the antisemitism problem, and the forum was described as a “candid discussion

       of the most relevant issues facing our Haverford community.” But all parties knew that

       the Forum was a response to the ongoing complaints of antisemitism.

227.   Although it was advertised as an “open dialogue,” only the Haverford Administration

       was allowed to speak at the March 2024 Forum. All other “participants” could only

       submit a single question in advance, with a limited number of words, and the

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       Administration decided which questions to answer. President Raymond’s Chief of Staff

       Jesse Lytle served as the moderator for the forum, and he acknowledged, after being

       prodded by the audience, that many of the questions posed related to frustration with the

       antisemitism statements and actions by staff members—clearly referring to Professor

       Auogab and other members of the Faculty for Justice in Palestine.

228.   In response, Chair Beever repeatedly referred to his days as a student at Haverford in the

       early 1970s. He pointed out that he took a class with a political science professor who

       held certain views on the Vietnam War with which he did not necessarily agree. The

       analogy and messaging was quite clear. Since Chair Beever had to take a class with a

       professor with political views which differed from his own, Jewish students should not

       object to taking classes with professors who express blatantly antisemitic hate speech,

       who denounce the students themselves as “racist genocidaires,” announce that their view

       of the students’ religious commitments is “F*ck Zionism,” and who refuse to assist in

       Jewish students’ education if they wish to pursue it at an institution in a country to which

       the professor is hostile, or wish to pursue studies about their own religion.

229.   The most Chair Beever was willing to say was that “some behavior is not Haverfordian,”

       and that “campus climate” was a concern. He also repeatedly stated that he knew he was

       not going to make “you” (presumably referring to Jewish parents and alumni on the call)

       happy, and he was not even trying to do so. His refusal to condemn the antisemitic

       rhetoric of Haverford staff members and students could not have been clearer.

230.   Chief of Staff Lytle asked President Raymond how she would respond to the “question”

       posed at the Congressional hearings by Representative Elise Stefanik to the presidents of

       Harvard, Penn, and MIT. The question, of course, is does calling for the genocide of Jews



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       violate your school’s rules on bullying and harassment? President Raymond responded

       that “genocide is unacceptable,” deliberately evading the intent of the question.

231.   Several references were made during this forum to the Haverford Honor Code, concerns

       about its “inconsistent use,” and the Administration’s insistence that Jewish students

       should utilize the Code as the sole tool for remedying the problems they face. The

       Confrontation section of the Honor Code states that “Confrontation, in the Haverford

       sense, refers to initiating a dialogue with a community member about a potential violation

       of the Honor Code with the goal of reaching a common understanding by means of

       respectful communication.”

232.   The effect of this policy is that students encountering antisemitism from their fellow

       students must use this mechanism, and not expect the Administration to do anything to

       address the matter. Several students who have explicitly brought complaints of

       antisemitic behavior have heard this response from President Raymond, despite the fact

       that the Honor Code also says that “Harmed parties are not required to confront their

       peers.”


                  R. Screening of Supernova: the Music Festival Massacre
233.   On April 14, Haverford’s Political Science Department, under the leadership of Professor

       Barak Mendelsohn—who, as alleged above at ¶77, remains under investigation by

       Haverford College for public statements made on his personal social media page in

       support of Zionism and the state of Israel—and other individual offices within Haverford

       College, presented a film about the October 7, 2023 Nova Festival Massacre—the

       slaughter, by Hamas, of hundreds of young Israelis while they were attending a concert




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       celebrating peace. The Nova documentary event was open to the public, though all those

       who wished to attend were required to register in advance.

234.   Signs and banners were prohibited at this event—thus demonstrating that, when it wished

       to do so, Haverford College knew that it was empowered to limit the time, place and

       manner of speech so as to prevent the disruption of other speech. So far as is known to

       Plaintiffs, this is the sole instance in which Haverford College has ever deployed time,

       place and manner limitations to protect the speech of any person or entity that is in any

       way supportive of Israel, Zionism, or Jews. The fact that this protection was announced

       regarding this, and only this, instance may be attributable to the fact that members of the

       public, and not just Haverford students, were invited to the screening.

235.   While posters were absent, protestors objecting to the screening of the film carried signs

       and stood in formation, forcing all those who came to see the documentary to walk

       through a phalanx of protestors displaying the same hateful rhetoric that appeared on the

       posters that the College had banned.

236.   Haverford’s chorus of antisemitic students protested the showing of the film. Needless to

       say, no such protests against an event mourning the murder of George Floyd or a member

       of any other minority group would have been tolerated at Haverford College.

237.   One of the protesters who carried a sign, in violation of Haverford’s stated policy, was

       Harrison Lennertz, the same student who posted an obscenity-laced boast that he had torn

       down posters for a Jewish event. His presence at the screening and his brazen violation of

       the ban on signs at the documentary screening reveals that Lennertz either received no

       discipline or counseling from the College—although students and alumni informed the




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       Administration of the post and the student’s identity—or that the violation he boasted that

       he committed was understood to be of no consequence.




238.   After the documentary screening ended, the Haverford protesters demanded an apology

       from President Raymond for her having the temerity to invite “Zionists” to campus.

239.   Numerous Jewish students at Haverford are Zionists. One of these students wrote to

       President Raymond asking why students were allowed to demand an apology for her

       inviting people who shared this student’s beliefs to the College’s campus—and why

       Raymond did not respond to this demand by explaining to the students who had issued it

       that they had an obligation, under Haverford’s policies, to engage respectfully with their

       Zionist fellow students. In fact, of course, Raymond did nothing of the kind, as

       Haverford’s policies requiring respectful dialogue and engagement do not apply to Jews

       in the same way that they apply to all other students, even all other minorities.

240.   Thus, even after having been asked to do so, President Raymond did not rebuke the

       students who demanded this “apology,” and neither did she take any steps to explain to

       these students why their issuance of this demand was wrong, given that some of their

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       fellow-students shared the belief these students were so categorically denouncing—and

       demanding that the belief be banished from campus. Neither did President Raymond

       answer the Jewish student’s question.


                  S. The Encampments
241.   In the weeks immediately prior to the filing of this Complaint, Haverford’s campus, like

       that of a number of other college and university campuses across the United States, was

       taken over by encampments of students, and other, non-students, who occupied buildings

       or college greens and stated their intention to remain in place until various “demands”

       were met by the respective institutions at which the encampments were taking place.

                   https://docs.google.com/document/d/18JA1Fi7SeVNvjdL2R97miuh-

                   7mhyXNS3C4jLK4HUdJs/edit

242.   Haverford’s encampment which consisted of tents, banners, and the declaration of a

       “Liberated Zone,” was identified by Haverford student leaders as being conducted “in

       solidarity with” the one at Columbia University.

243.   Like many other encampments set up on college campuses around the country—all, on

       information and belief, choreographed together—Columbia’s encampment was

       characterized by aggressively hostile behavior and explicitly antisemitic verbal attacks,

       including the chanting of phrases such as “Death to the Jews”; “Long live Hamas;” and

       “Globalize the Intifada”; as well as “Yehudim, Yehudim” [i.e., “Jews, Jews],” “all you do

       is colonize,” “Go back to Poland” and “go back to Europe.”

       https://www.nytimes.com/2024/04/21/nyregion/columbia-protests-antisemitism.html

244.   The Haverford encampment itself featured posters quoting Hamas to advocate for the

       destruction of the Jewish state, and chants calling for the destruction of the State of Israel.

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245.   The Haverford encampment barred access to Founders Hall, which Haverford College

       describes as “the centerpiece of its campus.”

       https://www.haverford.edu/libraries/news/many-faces-founders-hall The demonstrators

       were present, imposing this blockage, for at least three days, remaining on the campus 24

       hours a day during that period.

246.   Approximately 60-80 students who were part of the encampment also gathered at the

       Haverford dining hall before, during and after a meeting of the College’s Board of

       Managers. During that meeting the students screamed continuously at the Board of

       Managers that the Jewish homeland was an evil presence on the planet and action should

       be taken to dismantle it.

247.   Haverford’s Jewish students had to witness and endure this outrage while concluding

       their academic semester and preparing for final exams.

248.   Haverford College leadership did absolutely nothing to limit in any way the overt

       hostility manifested by these activities—though of course, if such hostility had been

       displayed in chants directed at any minority group other than Jews, the response of the

       Administration would have been swift and clear, removing and punishing the students

       displaying such hostility and disrespect. Haverford’s tent city then decamped to Merion

       Green at its sister school Bryn Mawr College, where it continues to this day, the volume

       and vituperation steadily increasing. Upon information and belief, Haverford College

       students and faculty have been and are continuing to participate in the Bicollege

       encampment.

249.   In the Spring, Ally noted that Vice President Young had declared May to be Asian

       American/Pacific Islander Month—a month dedicated to honoring Asian American and



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       Pacific Islanders. Ally wrote to Vice President Young and informed her that May is also

       Jewish American Heritage Month and requested that Young make a similar

       announcement about this as well. Young has never responded to this request.


                  T. Haverford’s Leadership has Resolutely Refused to Change Direction
                     on Campus Antisemitism Even After Jewish Students, Parents,
                     Alumni, and Faculty, as well as Organizations Representing the Local
                     Jewish Community Repeatedly Called this Problem to the Attention
                     of President Raymond and Other Haverford Administration Leaders
250.   Since the Administration’s completely unsympathetic initial response to Hamas’s

       October 7 attack on Jews and the Jewish state, and in the wake of growing public

       awareness about the unending series of attacks on Jews at Haverford, numerous Jewish

       alumni, students, parents, and faculty have repeatedly approached President Raymond

       and informed her:

          a. Jewish students are afraid to reveal that

                 i.   they support Israel’s right to exist as a Jewish state;

                ii.   they attend programs and events at Jewish spaces on and off campus;

               iii.   they have been on a Birthright trip to Israel or intend to go;

               iv.    they speak Hebrew.

          b. These fears are well-grounded and shared by essentially all Jewish students who

              believe the State of Israel has a right to exist as a Jewish state or who are affiliated

              with any organization that protects Jews who hold this belief.

          c. These fears are caused by relentless social media, face-to-face and other attacks,

              from their fellow Haverford students and from faculty.

          d. President Raymond has simultaneously taken the positions that:



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 e. The College doesn’t know the extent of these problems and can’t address these

    problems because Jewish students aren’t reporting them. (In fact, however, the

    claim that Jewish students are not reporting bias incidents is false.)

 f. The reality is that Jewish students are submitting reports, as they had been

    directed to do by the administration, both directly to President Raymond via

    email, and through a “bias and harassment form” which is completed online.

 g. Jewish students are “self-censoring” (President Raymond’s term);

 h. Jewish students should deal with these attacks by reporting them to the Honor

    Council which is a student-run body—thereby directing the Jewish students to

    seek relief from antisemitism from their antisemitic classmates;

 i. Haverford is being charged with antisemitism only because a small number of

    Jews are fomenting ill will against the College. For example, an email from Jesse

    Lytle, chief of staff to President Raymond, to Jewish leaders at Haverford,

    attached hereto as Exhibit E, conveys Mr. Lytle’s contentions that

       i.   This small number of Jews includes the leaders of Hillel and Chabad on

            the Haverford campus—the only two organizations whose mission is to

            provide places for worship and safe assembly for Haverford’s Jewish

            students.

      ii.   The small number of Jews fomenting ill will also include the leadership of

            Jewish Federation of Greater Philadelphia, which is a non-denominational

            umbrella organization representing the entire Jewish community of

            Southeastern Pennsylvania.

     iii.   The effort of these leaders to cause Haverford to address its antisemitism

            problem by communicating with the Jewish and non-Jewish community
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                      “prompts the question of intent.” Mr. Lytle’s email did not explain what

                      “question of intent” is “prompt[ed]” by the efforts of the Jewish

                      community to defend their constituency.

251.    Jewish students at Haverford are acutely aware that, solely because of their Jewish

        identities, Haverford views and treats them as second-class citizens in the Haverford

        community, undeserving of the protections that Haverford affords non-Jewish students.

        Because of Haverford’s persistent refusals to comply with its obligations to expunge

        discrimination and harassment, Jewish students are deprived of the benefits that non-

        Jewish students enjoy, including, but not limited to, the ability to fully participate in the

        educational opportunities for which they enrolled at Haverford College; physical

        protection; emotional support; a sense of inclusion and belonging; participation in

        educational, extracurricular, and College-sanctioned social activities; the ability to freely

        express their religious, ethnic and ancestral identity in class, written coursework, and on

        campus; and their right to express their support for and attachment to Israel, their

        ancestral homeland, where many have friends and family.

252.   Jewish students at Haverford justifiably fear the harassment, discrimination, and

       intimidation they face, on any given day, from professors and Haverford leadership—

       who are supposed to teach and guide them—and from their fellow students, all of whom

       are required to treat them with respect and dignity pursuant to Haverford’s policies. As a

       result of the Administration’s deliberate indifference to its hostile educational

       environment, Jewish students are often unable to focus, study, or perform their course

       work to the best of their ability, thereby severely impairing their ability to take full

       advantage of their Haverford education.



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253.   Jewish faculty members have indicated that they feel they could be putting their jobs at

       risk if they confront President Raymond or other Administration leadership on the topic

       of rampant antisemitism.

254.   Haverford’s deliberate indifference to, and indeed enabling of, antisemitism on campus

       constitutes an egregious violation of Title VI of the Civil Rights Act of 1964 which can

       only be remedied with institution-wide, far-reaching, and concrete remedial measures to

       address the severe and pervasive antisemitic environment on Haverford and allow Jewish

       students to take full advantage of their Haverford education.

255.   All Jews at Haverford who share a commitment to the existence of Israel as a Jewish state

       have this experience every day, at the hands of not just one immature and bigoted

       teaching assistant, but at the hands of far too many of their classmates, of tenured faculty

       members, and apparently the administrative leadership of the College.




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                               COUNT I TITLE VI OF
                              THE CIVIL RIGHTS ACT
                              OF 1964 42 U.S.C. § 2000d
                                       et seq.

256.   Plaintiff incorporates by reference the allegations set forth in the preceding paragraphs.

257.   Defendant receives financial assistance from the U.S. Department of Education and is

       therefore subject to suit under Title VI of the Civil Rights Act of 1964.

258.   Discrimination against Jews is prohibited under Title VI of the Civil Rights Act of 1964,

       as reflected in the written policies of the Department of Education’s Office for Civil

       Rights (“OCR”). See e.g., U.S. Dep’t of Educ., OCR Dear Colleague Letter: Addressing

       Discrimination Against Jewish Students (May 25, 2023),

       https://www2.ed.gov/about/offices/list/ocr/docs/antisemitismdcl. pdf; U.S. Dep't of

       Educ., OCR-000127, Questions and Answers on Executive Order 13,899 (Jan. 19, 2021),

       https://www2.ed.gov/about/offices/list/ocr/docs/qa-titleix-anti-semitism- 20210119.pdf;

       U.S. Dep't of Educ., OCR-00107, Dear Colleague Letter: Combatting Discrimination

       Against Jewish Students (2017), https://www2.ed.gov/about/offices/list/ocr/docs/jewish-

       factsheet-201701.pdf; Letter from Thomas Perez, Asst. Att. Gen., Civ. Rts. Div., U.S.

       Dep’t of Justice to Russlyn Ali, Asst. Sec'y for Civ. Rts., OCR, U.S. Dep't of Educ. Re:

       Title VI and Coverage of Religiously Identifiable Groups (Sept. 8, 2010),

       https://www.justice.gov/sites/default/files/crt/legacy/2011/05/04/090810 AAG Perez

       Letter to Ed OCR Title%20VI and Religiously Identifiable Groups.pdf; U.S. Dep’t of

       Educ., OCR Dear Colleague Letter: Religious Discrimination (Sept. 23, 2004),

       https://www2.ed.gov/about/offices/list/ocr/religious-rights2004.html.

259.   Attacks on students committed to Zionism is recognized by the OCR as antisemitic.




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260.   Thus, for example, even before the dramatic surge in on-campus attacks on Jews

       committed to Israel that followed Hamas’s October 7, 2023 attack, OCR found the

       presence of “antisemitic harassment” at the University of Vermont (“UVM”) when a

       single teaching assistant stated publicly

           a. “its [sic] good and funny” “for me, a TA, to not give Zionists credit for

                 participation”” and to give the students for whom she was a teaching assistant “-5

                 points for going on birthright,” “-10 points for posting a pic with a tank in the

                 Golan heights,” and “-2 point just cuz I hate u r vibe in general”

           b.    “why do so many Zionists work for the writing center[?]”

           c.    “I get a the indelible [sic] surge [sic] t cyber bully” when receiving “posts from

                 UVM Zionist Instagram accounts”;

           d.    “serotonin rush of bullying Zionists on the public domain”

           e.    “Both sides discourse,” and the statement “my family livs in tel aviv” should be

                 “politically unthinkable, worthy of private and public condemnation, [and]

                 likened to historical and contemporary segregationist movements.”

    Exhibit F.

261.   At UVM students affected by this one teaching assistant’s crude antisemitism produced

       submitted

                 statements [in which ] Jewish students shared with him such as: a Jewish student

                 “was upset [and] feared for her safety” as a result of vulgar social media posts;

                 another Jewish student felt scare and unsafe due to residence hall neighbors who

                 were “all posting very antisemitic posts on their social media accounts” and had

                 been physically aggressive in the past”; another Jewish student was “strongly



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               considering transferring to a campus that is safe for Jewish students because of

               the[se] incidents”; another Jewish student was “frustrated, scared and upset with

               the things their friends were posting on social media” and “felt alone and targeted

               for her . . . identity”’ and another Jewish student who “is Israeli” had begun to

               “fear to share where her family is from.”

Exhibit F at 11.

262.   OCR found that these statements by one teaching assistant on a campus with over 11,500

       students constituted UVM’s illegally treating “individuals differently on the basis of

       national origin in the context of an educational program or activity.”

263.   OCR found that proof of these facts would constitute a demonstration that UVM had

       “allowed a hostile environment for some Jewish students to persist at the University.”

264.   On November 7, 2023, OCR issued a new Dear Colleague Letter, reminding schools that

       receive federal financial assistance that they have a

               responsibility to address discrimination against Jewish, Muslim, Sikh, Hindu,

               Christian, and Buddhist students, or those of another religious group, when the

               discrimination involves racial, ethnic, or ancestral slurs or stereotypes; when the

               discrimination is based on a student’s skin color, physical features, or style of

               dress that reflects both ethnic and religious traditions; and when the

               discrimination is based on where a student came from or is perceived to have

               come from….

               Harassing conduct can be verbal or physical and need not be directed at a

               particular individual.




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U.S. Dep’t of Educ., OCR Dear Colleague Letter: Shared Ancestry or Ethnic Characteristics

(Nov. 7, 2023), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-202311-

discrimination-harassment-shared-ancestry.pdf.

265.   OCR further explains that “the following type of harassment creates a hostile

       environment: unwelcome conduct based on shared ancestry or ethnic characteristics that,

       based on the totality of circumstances, is subjectively and objectively offensive and is so

       severe or pervasive that it limits or denies a person’s ability to participate in or benefit

       from the recipient’s education program or activity.” Id. And it repeats its longstanding

       admonition that “[s]chools must take immediate and effective action to respond to

       harassment that creates a hostile environment.” Id.

266.   Defendant’s discriminatory application of its nondiscrimination policy and willful failure

       to enforce its nondiscrimination policy discriminates against Jews by:

267.   Defendants’ discriminatory application of its policy and failure to enforce its

       nondiscrimination policy has created an environment that is hostile towards Jews,

       including the Jewish students who are members of the Plaintiff association.

268.   The hostility towards Jewish members of the Haverford community is severe enough that

       it interferes with these students’ ability to participate in the programs and activities of the

       school.

269.   As described in the allegations above, these students cannot fully participate in the

       intellectual life on the Haverford campus because in expressing their opinions, they run a

       very high risk of retaliatory targeting, and therefore expend tremendous energy

       suppressing their views. That energy is not expended by others who are therefore




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       unimpaired in focusing their full attention on their education and on expressing

       themselves in the course of their education.


                                 COUNT II
                          BREACH OF CONTRACT


270.   Plaintiff incorporates by reference the allegations set forth in the preceding paragraphs.

271.   Defendants’ policies governing discrimination, the scope of expressive freedom on

       campus, the posting of posters, and the use of social media are official, governing

       policies of Haverford College which form terms of the contract binding the College and

       each of its enrolled students.

272.   Defendant has breached its contract with Plaintiffs by failing to apply these policies to

       Plaintiffs, and to speech and conduct relating to Plaintiffs, in the same way that such

       policies are applied to all other students at Haverford College.

273.   Defendant has failed to apply these policies to and on behalf of the Plaintiffs in the same

       way that it applies them to other students because the Plaintiffs are Jews.

274.   As a proximate result of the aforesaid breaches, plaintiff suffered damages.

275.   All conditions precedent for a breach of contract claim have been met.




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                                    PRAYER FOR RELIEF



WHEREFORE, Plaintiffs respectfully pray that this Court order the following relief:

276.   A writ of mandate permanently requiring Defendant to enforce all of its Policies,

       including those on discrimination, on expressive freedom, on the posting of posters, and

       on the use of social media, on an even-handed basis, ensuring that Jewish members of the

       Haverford community are protected, with respect to their physical safety and otherwise,

       from discrimination on the basis of their Jewish identity, including those for whom

       Zionism is an integral part of that identity.

277.   An injunction preliminarily and permanently mandating that Defendant take action to end

       the hostile environment on campus by (i) communicating to the entire Haverford

       community that Haverford will condemn, investigate, and punish any conduct that

       harasses members of the Jewish community, or others, on the basis of their religion, and

       ethnic or ancestral background; (ii) providing education about antisemitism which

       includes the hostile treatment of Jews who believe in the centrality of Israel to Judaism,

       by, amongst other ways, conducting mandatory training for students, administrators, staff

       and faculty; (iii) instituting strict review and approval of policies to ensure that the

       administration does not conduct, or finance, programs that deny equal protection to

       Jewish members of the Haverford community including those for whom Zionism is an

       integral part of their identity; and (iv) disciplinary measures—including the termination

       of, deans, administrators, professors, and other employees responsible for antisemitic

       discrimination and abuse—whether because they engage in it or permit it.

278.   A declaratory judgment that the failure by Defendant to enforce its policies to protect

       Jewish members of the Haverford community has violated Plaintiff’s rights under (i)

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       Title VI of the 1964 Civil Rights Act, 42 U.S.C. § 2000d et seq., and (ii) Plaintiffs' rights

       pursuant to their contract with Haverford College.

279.   The appointment of a Special Master to oversee and enforce Haverford’s compliance

       with Title VI for a period of five years after the entry of judgment in this matter.

280.   Compensatory, consequential, and punitive damages in amounts to be determined at trial.

281.   Plaintiff’s reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988.

282.   Any other relief which this Court may deem just and proper.



DATED: May 13, 2024                           Respectfully submitted,




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